          Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 1 of 75



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------x

SHAUNA NOEL, and EMMANUELLA SENAT

                                              Plaintiffs,
                                                                               15 CV 5236 (LTS)(KHP)
                           - against -

CITY OF NEW YORK,

                                             Defendant.

--------------------------------------------------------------------x
     DEFENDANT’S MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFFS’
       MOTION FOR PARTIAL SUMMARY JUDGMENT AND IN SUPPORT OF
          DEFENDANT’S CROSS-MOTION FOR SUMMARY JUDGMENT



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August 14, 2020
            Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 2 of 75




                                                     TABLE OF CONTENTS

                                                                                                                                            Page

PRELIMINARY STATEMENT .................................................................................................... 1

ARGUMENT .................................................................................................................................. 5

POINT I .......................................................................................................................................... 5

PLAINTIFFS CANNOT ESTABLISH INTENTIONAL
DISCRIMINATION ....................................................................................................................... 5

                                  A. Plaintiffs Lack Evidence of Discriminatory
                                     Intent .................................................................................................... 6

                                  B. The City Has Legitimate Non-Discriminatory
                                     Reasons for the CP policy.................................................................. 13

POINT II ....................................................................................................................................... 14

THE CP POLICY DOES NOT HAVE A DISPARATE IMPACT .............................................. 14

                                  A. Plaintiffs Have Failed to Demonstrate that the
                                     CP policy has a Disproportionate Impact on
                                     Black New Yorkers Applying for Affordable
                                     Housing .............................................................................................. 15

                                  (a) Plaintiffs’ Analysis Fails to Show an Impact on
                                      a Protected Class ................................................................................ 16

                                  (b) Race-Based “CD typologies” is the Improper
                                      Aggregate ........................................................................................... 19

                                  (c) Plaintiffs’ CP v. Non-CP Analysis Identifies
                                      the Incorrect Outcome of Interest ...................................................... 27

                                  (d) Plaintiffs Analyze the Incorrect Lottery Stages ................................. 30

                                  (e) Plaintiffs’ Statistical Significance Tests Must
                                      be Disregarded ................................................................................... 32

                                  (f) Plaintiffs’ Fail to Demonstrate Robust
                                      Causation ........................................................................................... 34

                                  B. Disparate Impact Analysis Done Properly ........................................ 37

                                  (b) Simulation .......................................................................................... 40
            Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 3 of 75




POINT III ...................................................................................................................................... 42

THE CP POLICY INTEGRATES AND DOES NOT PERPETUATE
SEGREGATION........................................................................................................................... 42

                                 A. Integrating Less is Not Perpetuating
                                    Segregation ........................................................................................ 43

                                 B. The CP policy Does Not Result in Significantly
                                    Less Integration ................................................................................. 46

                                 C. Perpetuation of Segregation Analysis Done
                                    Properly by Dr. Siskin ....................................................................... 47

                                 D. Plaintiffs’ “Measure” of the CP Impact is
                                    Flawed................................................................................................ 49

                                 E. Plaintiffs Failed to Demonstrate that the CP
                                    policy “Causes” Perpetuation of Segregation .................................... 50

POINT IV...................................................................................................................................... 51

THE CP POLICY IS NECESSARY TO ACHIEVE VALID INTERESTS ................................ 51

                                 A. The CP policy is Necessary to Address
                                    Displacement and the Fear of Displacement ..................................... 52

                                 B. The City Has Demonstrated Sufficient
                                    Evidence of its Legitimate Interests .................................................. 54

                                 C. Plaintiffs Mischaracterize the City’s Legitimate
                                    Interests .............................................................................................. 59

                                 D. Plaintiffs’ Use of Housing Connect Data to
                                    Attack the Legitimacy of the CP policy Fails .................................... 61

POINT V ....................................................................................................................................... 64

THERE ARE NO LESS DISCRIMINATORY ALTERNATIVES ............................................. 64

CONCLUSION ............................................................................................................................. 68




                                                                        iii
            Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 4 of 75




                                                TABLE OF AUTHORITIES

                                                                                                                                   Page(s)

Cases

Attenborough v. Constr. & Gen. Bldg. Laborers’ Local 79,
    691 F. Supp. 2d 372 (S.D.N.Y. 2009)......................................................................................18

Bank Leumi USA v. Ehrlich,
   98 F. Supp. 3d 637 (SDNY 2015) ...........................................................................................24

Bryan v. Koch,
   627 F.2d 612 (2d Cir. 1980), The NYC HRL ..............................................................64, 65, 67

Churches United for Fair Hous., Inc. v De Blasio,
   180 A.D.3d 549 (1st Dep’t 2020) ..............................................................................................8

Comer v. Cisneros,
  37 F.3d 775 (2d Cir. 1994).....................................................................................12, 22, 23, 38

Conn. Fair Hous. Ctr. v. Corelogic Rental Prop. Sols., LLC, No. 3:18-CV-705
   (VLB),
   2020 U.S. Dist. LEXIS 11867 (D. Conn. 2020) ......................................................................35

Conn. v. Teal,
   457 U.S. 440 ................................................................................................................23, 24, 31

Criley v. Delta Airlines, Inc.,
    119 F.3d 102 (2d Cir. 1997)...............................................................................................18, 29

Davis v. N.Y.C. Hous. Auth.,
   103 F. Supp. 2d 228 (S.D.N.Y. 2000)................................................................................41, 49

Davis v NYCHA
   166 F.3d 432 (2d Cir 1999)..........................................................................................42, 46, 67

Dist. Council 37 v. N.Y. City Dep’t of Parks & Rec
   (2d Cir 1997) ............................................................................................................................31

Fair Housing in Huntington Comm., Inc. v. Town of Huntington,
   316 F.3d 357 (2d Cir. 2003).....................................................................................................15

Fisher v. Vassar College,
   70 F.3d 1420 (2d Cir. 1995).....................................................................................................21

Fortune Soc’y v. Sandcastle Towers Hous. Dev. Fund Corp.,
   388 F. Supp. 3d 145 (E.D.N.Y 2019) ..........................................................................32, 35, 51


                                                                      iv
            Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 5 of 75




Gallagher v. St. Paul
   619 F.3d 823 (8th Circuit 2010) ........................................................................................10, 11

Gilmore v. Montgomery,
   417 U.S 556 (1974) ............................................................................................................42, 46

Hazelwood Sch. Dist. v. United States,
   433 U.S. 299 (1977) ...........................................................................................................34, 38

Hollander v. American Cyanamid Co.,
   172 F.3d 192 ............................................................................................................................21

Huntington Branch NAACP v. Town of Huntington,
   844 F.2d 926 (2d Cir.), aff’d, 488 U.S. 15 (1988) ........................................................... passim

Int’l Bhd. of Teamsters v. United States,
    431 U.S. 324 (1977) .................................................................................................................32

Keepers v. City of Milford,
   807 F.3d 24 (2d. Cir. 2015)........................................................................................................5

Langlois v. Abington Hous. Auth,
   234 F. Supp.2d 33 (D. Mass 2002) ..............................................................................22, 23, 28

Lowe v. Commack Union Free Sch. Dist.,
   886 F.2d 1364 (2d Cir. 1989).......................................................................................18, 19, 21

McAnaney v. Astoria Fin. Corp.,
  665 F. Supp. 2d 132 (E.D.N.Y. 2009) .....................................................................................24

MHANY Management v. County of Nassau,
  819 F.3d 581 (2d Cir. 2016)............................................................................................. passim

Saint-Jean v. Emigrant Mortg. Co.,
   337 F. Supp. 3d 186 (E.D.N.Y. 2018) .....................................................................................35

Shannon v. Fireman’s Fund Ins. Co.,
   156 F. Supp. 2d 279 (SDNY 2001)..........................................................................................21

Smith v. Xerox Corp.,
   196 F.3d 358 (2d. Cir. 1999), overruled on unrelated grounds by Meacham v.
   Knolls Atomic Power Lab., 461 F.3d 134 (2d Cir. 2006) ................................................ passim

Tex. Dep’t of Hous. & Cmty. Affiairs v. Inclusve Cmtys. Project,
   135 S. Ct. 2507 (2015) ..................................................................................................... passim




                                                                      v
            Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 6 of 75




Tsombanidis v. W. Haven Fire Dep’t,
   352 F.3d 565 (2d Cir. 2003), superseded on other grounds as stated in
   MHANY 819 F.3d .........................................................................................................15, 17, 29

U.S. v. Starrett City Assocs.,
   840 F.2d 1096 (2d Cir. 1988).....................................................................................................8

Ungar v. NYCHA
   363 F. App’x 53 (2d. Cir 2010) ...............................................................................................42

United States v. City of New York,
   637 F. Supp. 2d 77 (E.D.N.Y. 2009) ...........................................................................33, 34, 58

United States v. Johnson,
   616 F.3d 85 (2d Cir. 2010).......................................................................................................24

United States v. Yonkers Board of Education,
   837 F.2d 1181 (2d Cir. 1987), cert. denied, 486 U.S. 1055, 100 L. Ed. 2d 922,
   108 S. Ct. 2821 (1988) .........................................................................................................6, 11

Village of Arlington Heights v. Metropolitan Housing Dev. Corp.,
    429 U.S. 252 (1977) ...................................................................................................5, 7, 10, 12

Ward Cove v. Atonio,
  490 U.S. 642 (1989), superseded on other grounds by statute as explained in
  Smith v. City of Jackson, 544 U.S. 228, 125 S. Ct. 1536 (2005) .................................27, 29, 30

Washington v. United States HUD,
  2019 U.S. Dist. LEXIS 127027 (E.D.N.Y 2019) .....................................................................35

Williams v. N.Y. City Hous. Auth.,
   879 F. Supp. 2d 328 (E.D.N.Y. 2012) .........................................................................15, 20, 29

Winfield v. City of N.Y.,
   No. 15-CV-5236, 2016 U.S. Dist. LEXIS 146919 (S.D.N.Y. Oct. 24, 2016) .............15, 40, 41

Statutes

42 U.S.C 3604(a) ...........................................................................................................................17

42 U.S.C. § 3613(a) .........................................................................................................................5

336. The NYC Human Rights Law................................................................................................17

Fair Housing Act (“FHA”)..................................................................................................... passim

New York City Human Rights Law (“HRL”) ....................................................................... passim



                                                                      vi
            Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 7 of 75




Other Authorities

24 CFR 42.325(a)...........................................................................................................................53

24 CFR § 100.5(d) .........................................................................................................................57

24 CFR § 100.500 d(1)(ii) .............................................................................................................57

84 FR 42854 ...................................................................................................................................57

Fed.R.Civ.Pro. Rule 37(c)(1) .........................................................................................................33

NYC Admin. Code § 8-107(5)(a)(1) .............................................................................................17

NYC Admin. Code § 8-107(17)(a)(1) ...............................................................................17, 35, 42

NYC Admin. Code § 8-107(17)(a)(2)
  ................................................................................................................................51, 56, 59, 64

NYC Admin Code § 8-107(17)(b) .................................................................................................35

NYC Admin. Code § 8-504(d).........................................................................................................5




                                                                       vii
            Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 8 of 75




                                       PRELIMINARY STATEMENT

           Like all cities across the United States, New York City grapples today with the

consequences of the nation’s history of slavery and racist laws, policies, and customs. This

legacy of discrimination, segregation, and injustice has shaped the City’s built and social

environments, and is manifested in unequal access to wealth, safety, and stability among New

Yorkers of varied racial and ethnic backgrounds. New York City – its residents and its public

officials – have struggled to address these injustices over the course of many decades, taking

steps forward and backward, sometimes simultaneously.1 More still needs to be done, but the

City has been prioritizing policies and programs that promote fairness, equity, and justice for all

New Yorkers.2

           The City recently undertook an extensive review of its fair housing initiatives through its

Where We Live NYC (“WWL”) process. During the WWL process, the City solicited extensive

stakeholder and public input to examine housing accessibility, affordability, and discrimination,

as well as racial justice in transportation, schools, infrastructure, and public safety, and other

areas, that impact fair housing. In a draft report made available to the public, the City outlined

the barriers to fair housing identified during the WWL process and set forth its goals for the

future.3

1
  For instance, in the 1950s the City passed some of the nation’s first housing anti-discrimination laws, now set forth
in the New York City Human Rights Law (“HRL”). The HRL law is enforced by the City Commission on Human
Rights (“CCHR”), which investigates complaints of discrimination, conducts investigations, and commences
lawsuits. Also in the 1950s and 1960s, urban renewal programs demolished neighborhoods predominantly occupied
by Black and Brown New Yorkers, displacing them from their homes and communities. See Been Dec. at ¶ 20.
2
  The City’s broader strategy for building a stronger and more equitable City is set forth in OneNYC 2050. See
https://onenyc.cityofnewyork.us/ The City’s housing plan, Housing New York (HNY) and HNY 2.0 is also an
essential part of the City’s plan to build a more equitable city. HNY and HNY 2.0 can be accessed at:
https://www1.nyc.gov/site/housing/plan/download-the-plan.page
3
    The WWL draft report can be found at https://wherewelive.cityofnewyork.us/draft-plan/the-draft-plan/
          Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 9 of 75




        Also a necessary part of fair housing and building an equitable city is the City’s

comprehensive housing plan. Building upon decades of programs and initiatives to increase and

preserve the housing stock,4 and the investment of tens of billions of dollars in housing

development over the past thirty years, the City launched and is currently implementing an

aggressive new housing plan, HNY and its successor, HNY 2.0. HNY and HNY 2.0 call for, and

have succeeded in, producing record numbers of new affordable housing, in part through the

passage of legislation mandating that affordable housing be built whenever developers obtain

increases in density.5 While the City’s affordable housing program still has much work to do in

order to meet the highest aspirations of the Fair Housing Act, the work already done in the WWL

process, along with OneNYC 2050 and HNY and HNY 2.0, and the many policies and programs

implemented as a result, serve as the blueprints for continued progress fighting discrimination,

confronting segregation, and taking action to advance opportunity for all.

        Tackling the housing crisis and promoting fair housing requires a multi-faceted strategy,

combining housing preservation and construction with other anti-displacement and tenant

protection measures. Such measures are critical because displacement and the fear of

displacement caused by the severe housing crisis, and salaries that do not keep up with the rent,

have been and continue to be a serious concern for the City and its residents. After suffering

through a history of segregation, housing abandonment and disinvestment, and displacement

4
  For example, the City created the nation’s first public housing authority in 1935. As early as the 1980s, the City
began selling its in rem properties for the development of affordable housing while most cities facing similar
disinvestment and abandonment were shrinking their affordable housing stock.
5
 Through the implementation of HNY and HNY 2.0, as of June 30, 2020, the City has subsidized the construction
of more than 50,656 new affordable units and has preserved over 114,934 affordable housing units, and prior to
COVID-19, had been on track to build or preserve 300,000 affordable units by 2026. See Been Dec. ¶ 24 fn 14.




                                                         2
            Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 10 of 75




through urban renewal, low-income and Black and Brown communities are particularly fearful

that they will not benefit from new investment in their neighborhoods and, instead, will

ultimately be pushed out of their communities. This fear of displacement can be traumatic and all

too often results in opposition to the development of desperately needed affordable housing.

           At issue in this case is one piece of the City’s complex efforts to address its affordable

housing crisis. Plaintiffs have challenged the City’s long-standing policy of prioritizing local

residents in the allocation of half of newly built, City-supported affordable housing,6 claiming

that the policy intentionally and unintentionally discriminates against Black and Hispanic 7 New

Yorkers on the basis of race. Although residency preferences are most often associated with the

exclusion of Black and Brown people from predominantly White communities, that simply is not

the case here. As the extensive discovery taken in this case demonstrates, the City’s community

preference (“CP”) policy and its affordable housing program overall are unlike the residency

preferences and affordable housing programs typically challenged under the Fair Housing Act.

           Most importantly, the uniquely comprehensive data analyzed in this lawsuit show:8 (1)

Black and Hispanic New Yorkers disproportionately receive newly built affordable housing; (2)


6
  The City allocates a significant portion of the new affordable housing that it subsidizes through its Housing
Lottery. The New York City Department of Housing Preservation and Development (“HPD”) uses a centralized
electronic application database, which both advertises projects and allows applicants to apply for projects
electronically (paper applications are also accepted). When the application period ends, the database generates a log
assigning each applicant a random log number. The log contains applicant information such as income and
household size, which the private developers use to assess apparent eligibility for a unit in the project. If at the time
the developer reaches an apparently eligible applicant on the log, and an appropriate unit is still available, the
developer will invite the applicant to verify eligibility. If the applicant is eligible, she will be offered a unit. The log
also notes whether the applicant is eligible for a preference, such as the Community Preference. Preference
applicants are considered before non-preference applicants, in log order within the preference group. For a more
comprehensive explanation of the Housing Lottery, please see the accompanying Declaration of Margaret Brown.
7
 Although the complaint uses the terms “African American” and “Latino,” the City has adopted the terminology
used by both parties’ experts in describing race, which is based on census categories of race.
8
    This list is not exhaustive, and is meant to only highlight some of the findings.




                                                              3
           Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 11 of 75




the City’s newly built affordable housing projects undoubtedly improve the diversity of

neighborhoods within a majority White population;9 (3) among the recipients of newly built

affordable housing in majority White neighborhoods, the largest share of local residents who had

the benefit of the CP policy were Hispanic New Yorkers; (4) the rates at which Black New

Yorkers and White New Yorkers are invited to verify their eligibility for newly built housing is

almost identical; (5) the City’s affordable housing projects have an overall integrative effect on

the City’s level of segregation.10

           Together, this data indisputably shows that the CP policy does not have a negative and

disproportionate impact on Black and Brown communities, nor does it perpetuate segregation in

majority White neighborhoods or any other neighborhoods. While Plaintiffs present

oversimplified conclusions regarding the purported discriminatory effect of the CP policy, they

arrive at these conclusions through a convoluted methodology that does not conform to the

generally accepted disparate impact methodology, and is thus both statistically and legally

invalid.

           In addition, these findings provide no support for Plaintiffs’ allegation that City officials

created, expanded, or currently maintain the CP policy in order to discriminate on the basis of

race or to promote segregation. Moreover, since the CP policy does not discriminate on the basis

of race or perpetuate segregation, it would be wholly irrational for City officials to support the

CP policy with those goals in mind. Unsurprisingly, and despite years of discovery, Plaintiffs

will be unable to meet their burden of proof to demonstrate that the reason City officials support

9
 This is based upon Plaintiffs’ expert, Dr. Beveridge’s majority White CD typology data. While the City disagrees
with the use of CD typologies, it is helpful here to understand how the projects improve diversity in majority White
neighborhoods.
10
     This is based upon the Dissimilarity Index, a common measure of segregation.




                                                           4
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 12 of 75




the CP policy is to discriminate on the basis of race or to perpetuate segregation. Thus, the City

is entitled to summary judgment dismissing all of the claims set forth in the Second Amended

Complaint (“Complaint” or “Compl.”).

                                                  ARGUMENT

                                                    POINT I

                           PLAINTIFFS    CANNOT     ESTABLISH
                           INTENTIONAL DISCRIMINATION

                  Plaintiffs cannot meet their burden to demonstrate that the City intentionally

discriminated against Black New Yorkers11 in the maintenance of the CP policy.12 A plaintiff can

establish a prima facie case of disparate treatment (intentional discrimination) “by showing that

animus against the protected group was a significant factor in the position taken by the municipal

decision-makers themselves or by those to whom the decision-makers were knowingly

responsive.” MHANY Management v. County of Nassau, 819 F.3d 581, 606 (2d Cir. 2016)

(quoting LeBlanc-Sternberg v. Fletcher, 67 F.3d 412, 425 (2d. Cir. 1995)). A plaintiff need not

rely on direct evidence of discriminatory intent, but can use circumstantial evidence to infer

discriminatory intent. See Village of Arlington Heights v. Metropolitan Housing Dev. Corp., 429

U.S. 252 (1977) (setting forth the traditional factors considered in inferring discriminatory intent

11
  Although Plaintiffs are two Black women, see Compl. ¶¶ 14 and 15, Plaintiffs purport to assert their claims on
behalf of Blacks and Hispanics See Compl. ¶¶ 178 and 179. Plaintiffs do not have standing to assert a claim on
behalf of Hispanics, or any other protected class, other than the protected class that they are part of. See Keepers v.
City of Milford, 807 F.3d 24, 40-43 (2d. Cir. 2015). As such, discussion of the CP policy’s impact on Hispanics is
generally limited. Nevertheless, even if Plaintiffs did have standing to assert a claim on behalf of Hispanics, they
have failed to establish a prima facie on behalf of that protected group as well.
12
   The Complaint alleges that the City intentionally discriminated against Black New Yorkers applying for
affordable housing in the adoption, expansion and maintenance of the CP policy. However, the adoption occurred in
1988 and the expansion in 2002, and consequently Plaintiffs are barred from challenging the adoption and expansion
of the CP policy by the applicable statute of limitations. See 42 U.S.C. § 3613(a) (setting a 2 year statute of
limitations for FHA claims); NYC Admin. Code § 8-504(d) (setting a 3 year statute of limitations for NYC HRL
claims). However, even if not barred, as discussed below, Plaintiffs can point to no direct or circumstantial evidence
of intentional discrimination in the adoption or expansion of the policy.




                                                          5
        Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 13 of 75




in the housing context); MHANY, 819 F.3d at 606. (quoting Arlington Heights, 429 U.S. 252

(1977)); United States v. Yonkers Board of Education, 837 F.2d 1181, 1221 (2d Cir. 1987)

("Yonkers"), cert. denied, 486 U.S. 1055, 100 L. Ed. 2d 922, 108 S. Ct. 2821 (1988). Disparate

impact may also be considered evidence of intent but “impact alone is not determinative, and the

Court must look to other evidence[.]” MHANY, 819 F.3d at 606. In the instant case, there is

neither evidence of discriminatory intent—direct or circumstantial—by the City in maintaining

the CP policy, nor does the CP policy cause any disparate impact on Black New Yorkers’ ability

to compete for affordable housing.

       Moreover, even if Plaintiffs were able to meet their burden of inferring discriminatory

intent, after doing so “the burden shifts to the defendant to proffer a legitimate, non-

discriminatory reason for its actions.” MHANY, 819 F.3d at 612. Under this mixed-motive

analysis, even if there is a finding of discriminatory intent, if the defendant demonstrates that it

would have undertaken the challenged action for a legitimate purpose alone, there is no liability.

Id. at 613. It is indisputable that the City has maintained the CP policy for a legitimate purpose.



A.     Plaintiffs Lack Evidence of Discriminatory Intent

       The City is entitled to summary judgment as Plaintiffs will be unable to produce evidence

of discriminatory intent or evidence that could infer discriminatory intent. Not only have

Plaintiffs failed to demonstrate that the CP policy has a disparate impact, it is undisputed that the

housing lottery and lease-up process (“Lottery Process”) with the CP policy in place has an

integrative effect on the city. See infra Sections II and III. Moreover, Plaintiffs did not plead




                                                  6
           Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 14 of 75




their allegation of intentional discrimination based upon the Arlington Heights factors; a clear

concession that they cannot meet this well-established standard.13

         Instead, Plaintiffs propose their own five-part “test” for demonstrating circumstantial

evidence of discriminatory intent, and allege that they have met their burden under this “test”

because “[t]he City’s . . . decisions to establish, maintain, and expand the [CP] policy: (a) were

made in the face of a history of discrimination and segregation encouraged by and participated in

by the City; (b) were made knowing, or being deliberatively indifferent to, the policy’s clear

disparate impact on opportunity to participate on equal terms and its tendency to perpetuate

segregation; (c) constituted choices to reject more pro-integrative alternatives; (d) are reflective

of the City’s consciousness of what policies it thought that particular racial and ethnic groups

“wanted,” as well as other race awareness; and (e) responded to racially- and ethnically-

influenced community and political opposition.” Compl. at ¶ 8. Plaintiffs’ attempt to demonstrate

intentional discrimination in such a manner fails as a matter of law and is also unsupported by

the evidence.

         First, while the City acknowledges that, like all cities in this nation, it has been shaped by

decades of discrimination against Black and Brown communities; that tragic history does not

render any race-neutral policy that has been developed since then intentionally discriminatory,

and Plaintiffs are unable to produce evidence of any nexus between the CP policy and that

history.




13
   Nor do Plaintiffs have evidence to satisfy the well-established Arlington Heights factors that would be sufficient
to create a material issue of fact. The Arlington Heights factors include the following: the historical background of
the decision, departures from the normal procedural sequence, substantive departures, and the legislative or
administrative history. See Arlington Heights, 429 U.S. at 267-68.




                                                          7
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 15 of 75




        To the contrary, the CP policy originated out of a sense of justice and equity for the low-

income and predominantly non-White communities that had struggled through years of

abandonment and disinvestment in the city, which caused many residents to suffer from

displacement and relocation, often to poor quality housing. In the 1980s, when the City started to

sell in rem properties for the development of affordable housing in what were predominantly

low-income communities, residents of those communities wanted and deserved a chance to

benefit by having a greater opportunity to move into the high-quality affordable housing being

built or rehabilitated in their neighborhoods. See Declaration of Deputy Mayor Vicki Been, dated

August 14, 2020 (“Been Dec.”) ¶ 41.

        Second, Plaintiffs are unable to demonstrate that the City maintained the CP policy

knowing of or being deliberately indifferent to its alleged disparate impact or tendency to

perpetuate segregation. As set forth in sections II and III, infra, the CP policy does not have a

disparate impact nor does it perpetuate segregation. In fact, it disproportionally serves Black

New Yorkers and diversifies neighborhoods. See Declaration of Bernard R. Siskin, dated August

13, 2020 (“Siskin Dec.”) at Table 5 and ¶ 7 .14

        Third, Plaintiffs’ assertion that they will demonstrate that the City “rejected more pro-

integrative policies” lacks merit. The underlying premise to this assertion is that there is a clear

definition of what is the “most” integrative policy, and that there is an obligation to pursue the

most integrative policy option. However, there is no such legal obligation. See e.g. U.S. v.

Starrett City Assocs., 840 F.2d 1096 (2d Cir. 1988) (holding that quotas intended to maintain

14
  Further, prior to adopting a policy, the City does not have an obligation under the FHA to undertake disparate
impact analyses. See Churches United for Fair Hous., Inc. v De Blasio, 180 A.D.3d 549 (1st Dep’t 2020). Even if the
City had undertaken such analysis it would have been impossible to predict in the 1980s,or even prior to the 2002
expansion, the dramatic changes in the city’s neighborhoods and demographics, and in people’s preferences about
where to live that would be necessary to conduct such analysis.




                                                         8
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 16 of 75




integration violated the FHA). Moreover, cities have many competing goals and priorities that

must be carefully balanced. The City seeks to both create opportunities for people to move to

neighborhoods of their choice, which may have different racial demographics or amenities, while

also ensuring that neighborhoods in which people now live receive the investment they need to

provide their residents better amenities and opportunities if they choose to stay. Indeed, the

Supreme Court opined that “[t]he FHA is not an instrument to force housing authorities to

reorder their priorities.” Tex. Dep’t of Hous. & Cmty. Affiairs v. Inclusve Cmtys. Project, 135 S.

Ct. 2507, 2522 (2015) (“Inclusive Communities”).

        Finally, Plaintiffs’ fourth and fifth assertions likewise fail. Plaintiffs have little to no

evidence demonstrating that the City knows what particular racial groups “want.”15 Nor is

“racially- and ethnically-influenced community and political opposition” necessarily invidious.

As the Supreme Court explained, “mere awareness of race in attempting to solve the problems

facing inner cities does not doom that endeavor at the outset.” Inclusive Communities, 135 S. Ct.

at 2525. People often organize around others of their race or ethnicity to address concerns that

matter to their community. “This is particularly true and important for communities that have

been historically discriminated against and disenfranchised.” Declaration of Edward G. Goetz,

dated August 13, 2020 (“Goetz Dec.”) at ¶ 75. That the City may be responsive to Black and

Brown communities’ legitimate concerns (in particular here, the fear of displacement) does not




15
  Plaintiffs’ initial disclosures include the City’s “Proposed Consolidated Plan Annual Performance Report 2012:
Affirmatively Furthering Fair Housing Statement” in which the City, in response to a public comment explains that
“community districts with large Black and Hispanic populations want this community district preference....” See
Polifione Dec. Ex. 41. Even if acknowledging the racial makeup of particular neighborhoods or of particular
advocates for a position were evidence of discriminatory intent, it would be evidence discriminatory intent against
White New Yorkers, not Black New Yorkers, as is alleged by Plaintiffs in the Complaint.




                                                        9
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 17 of 75




mean that the City has discriminatory intent with regard to other racial or ethnic communities (or

the community to which it is responding).

         Moreover, it is well-settled that in order to establish a prima facie case based upon the

racial animus of others, a plaintiff must demonstrate that the decision-makers “were knowingly

responsive” to those with invidious concerns. MHANY, 819 F.3d at 611 (internal quotations and

citations omitted). Thus, even to the extent that Plaintiffs believe they have evidence

demonstrating there are people who oppose affordable housing out of racial animus or a desire to

maintain the city’s current residential patterns by race,16 such purported evidence is meaningless

because Plaintiffs cannot demonstrate that the City was motivated to maintain (or adopt or

expand) the CP policy in response to such invidious opposition. See Arlington Heights 49 U.S. at

269-70 (although the District Court found that some opponents of plaintiffs’ requested zoning

change “might have been motivated by opposition to minority groups,” the evidence evaluated

by the Supreme Court did not warrant the conclusion that this motivated defendants); See also

Gallagher v. St. Paul 619 F.3d 823 (8th Circuit 2010) (“Merely calling these statements evidence

of racial animus is not enough to create a genuine dispute of fact.”).

         Furthermore, Plaintiffs’ claim that the CP policy is responsive to such race-based

opposition is not logical. Those concerned with trying to “maintain the racial status quo” of their

neighborhood by excluding Black and Brown New Yorkers would not be satisfied with the CP

policy, because the CP policy can “promise” nothing more than the mere possibility that fewer


16
   To the extent that Plaintiffs will rely upon the opinions of their purported expert, Myron Orfield, as evidence that
the CP policy is responsive to people who fear racial change or want to maintain the racial status quo, such reliance
is misplaced. The City has moved to exclude the testimony of Professor Orfield as his report contains nothing more
than unsupported and conclusory opinions based upon a lack of understanding of the City’s legitimate government
interests and the housing needs in New York City. Moreover, the assertion of any opinion that the City has been
responsive to such animus through the maintenance of the CP policy is not an appropriate expert opinion.




                                                          10
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 18 of 75




non-White New Yorkers might move into 50% of the units subject to a lottery at the time the

units are first leased (as the CP policy does not apply once an original tenant vacates a unit). See

Been Dec. ¶¶ 62, 63. Moreover, this “logic,” which is based on the assumption that the CP units

will go to the majority race in the Community District (“CD”), is counter to Plaintiffs’ own data.

Hispanic New Yorkers living in majority White areas were the largest number of applicants and

recipients of housing with the CP preference in those areas.17 See Siskin ¶ 146. Black New

Yorkers living in plurality White areas were the largest number of applicants and recipients of

housing with the CP preference in those areas. Id.

         In reality, the CP policy helps to enable the City to build affordable housing by

overcoming opposition to such housing caused by fears of displacement. As a result of the CP

policy, affordable housing—which has an integrative effect and disproportionately houses Black

New Yorkers—is approved and built, not blocked. This is wholly distinct from the typical fair

housing cases, in which opposition often results in the affordable housing (or zoning change to

facilitate affordable housing) in majority White areas being stalled or rejected. See e.g., MHANY,

819 F.3d 581 (denying application to rezone to facilitate construction of affordable housing),

Huntington Branch NAACP v. Town of Huntington, 844 F.2d 926 (2d Cir.), aff'd, 488 U.S. 15

(1988); Yonkers, 837 F.2d at 1220 (“over a period of more than three decades, the City approved

no housing for minorities in any area that was not in or close to an already heavily minority

area.”) See also Inclusive Communities, 135 S. Ct. at 2522-23 (lawsuits targeting “housing

restrictions that function unfairly to exclude minorities from certain neighborhoods without any


17
   This statistic is based upon Dr. Beveridge’s majority White CD typology (data groupings he created based upon
the racial demographics of the community preference area). Further, the reference to applicants is technically
apparently eligible applicants, applicants that, based on self-reported income and household size, are eligible for at
least one unit in the project applied to.




                                                         11
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 19 of 75




sufficient justification” “reside at the heartland of disparate-impact liability” (emphasis added)).

See also Goetz Dec. ¶ 79. There simply is no nexus between the CP policy and preventing the

construction of affordable housing or the perpetuation of segregation because the CP policy has

the opposite effect—increasing the number of newly built affordable housing units, which helps

reduce the level of segregation and serves Black and Brown New Yorkers disproportionately.

         Finally, while the Complaint alleges that the City is discriminating against Black and

Hispanic New Yorkers, the “evidence” 18 of raced-based opposition to affordable housing

Plaintiffs have presented to their purported experts is predominantly opposition from Black and

Brown communities. See ECF 894-1 This “evidence” of “racially- and ethnically-influenced”

opposition to development does not establish the harm alleged by Plaintiffs— that Black

affordable housing applicants have a lack of access to White neighborhoods of opportunity. See

Compl. at ¶¶ 7 and 100.

         In sum, Plaintiffs will not be able to present direct or circumstantial evidence to

demonstrate discriminatory intent. They do not even attempt to do so under the well-established

Arlington Heights factors, nor will they be successful in their attempt to demonstrate intent based

on their own five part “test.” Additionally, Plaintiffs have no evidence of a nexus between the

“evidence” of race-based opposition or a desire to maintain the racial status quo and the CP

policy. Thus, as the Second Circuit decided in Comer, “summary judgment is warranted [here,]

18
   Plaintiffs will likely point to approximately twenty documents (out of over 27,000 documents produced) and 8
deposition excerpts from 7 fact witnesses (out of 23 fact depositions from 21 witnesses) resulting from over three
years of discovery (during which the City searched for documents from some custodians dating as far back as Jan. 1
2002, and for the majority of the custodians from Jan. 1, 2010) that they believe are evidence that there is race-based
opposition to affordable housing. These are the documents and deposition excerpts that Plaintiffs provided to their
purported expert Professors Orfield from which he drew his opinions. See ECF. 894-1. Presumably, if Plaintiffs
believed that they had further evidence of racial animus to infer discriminatory intent they would have shared it with
their purported expert so he would have a more full foundation for his opinion. Moreover, much of the “evidence” is
likely inadmissible, as several of the Exhibits are not even City documents and many of the deposition excerpts
contain objections to the operative questions.




                                                          12
           Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 20 of 75




where the non-moving party has no evidentiary support for an essential element on which it

bears the burden of proof.” Comer v. Cisernos at 787 (quoting Orange Lake Assocs., Inc. v.

Kirkpatrick, 21 F.3d 1214, 1217 (2d Cir. 1994)).

B.         The City Has Legitimate Non-Discriminatory Reasons for the CP policy

           Under the mixed-motive standard, even if the Court were to find that there was a question

of fact as to whether Plaintiffs could establish their prima facie case of intentional

discrimination, the City is still entitled to summary judgment, because the City has indisputable,

legitimate, non-discriminatory reasons for the maintenance19 of the CP policy and it would have

maintained the CP policy for these non-discriminatory reasons alone. See MHANY, 819 F.3d at

612 (citing Reg'l Econ. Cmty. Action Program, Inc. v. City of Middletown, 294 F.3d 35, 49 (2d

Cir. 2002)). See also Palmer v. Mae, 755 F. App'x 43, 45 (2d Cir. 2018) (“once a plaintiff has

established a prima facie case of discrimination, the burden shifts to the defendant to assert a

legitimate, nondiscriminatory rationale for the challenged decision”)

           As discussed more fully in section IV, infra, the CP policy helps prevent the

displacement of low-income people from their communities, assuages the fear of displacement,

and helps overcome opposition to affordable housing that is rooted in a fear of displacement.

Many affordable housing projects and all zoning actions that facilitate affordable housing

development are subject to a comprehensive public review process in which several public

hearings are held, culminating in a vote by the City Council. The fear of displacement “is one of

the most prominent and consistent housing concerns expressed by the public, community leaders

and CMs. “[O]ne of the most prominent and consistent housing concerns expressed by the



19
     The CP policy was adopted in 1988. See Been Dec. ¶ 40.




                                                         13
            Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 21 of 75




public, community leaders and CMs” is the fear of displacement, which the CP policy helps

mitigate. See Been Dec. ¶ 65.

            It is undisputed that displacement of low-income people in the city is occurring and that

such displacement is a serious public policy concern. See Declaration of Frances Polifione, dated

August 14, 2020 (“Polifione Dec.”) at Exs. 45 (Beveridge at 34:22-35:1) and 49 (Orfield at

63:18-20 and 53:3-20; 56:13-20; 79:13-80:1) and 44 (Beveridge rebuttal report, generally).

Studies estimate the rate of displacement in New York City to be between 5.1 and 7.1 percent a

year. Consequently, since 2015, the year the complaint in this lawsuit was filed, 50,000 to 90,000

households (or approximately 128,000 to 231,000 people) have been displaced. See Goetz Dec.

at¶ 27. Further, the record is replete with evidence of the fear of displacement by community

members and Council Members, and the opposition to affordable housing triggered by such fear.

See        Been       Dec.      ¶¶41-51;       City’s      Statement        of     Facts   (“City   56.1”)20   ¶¶

9,14,15,77,82,84,85,109,110,111,112, and 113. Therefore, under the mixed-motive standard, the

City is entitled to summary judgment even if the Court were to find an issue of fact as to whether

Plaintiffs could meet their prima facie burden.

                                                        POINT II

                              THE CP POLICY DOES NOT HAVE A
                              DISPARATE IMPACT

            Plaintiffs, two Black women, allege that the CP policy caused them to “suffer a disparate

impact based on race in the opportunity to compete for affordable housing opportunities.”

Compl. at ¶¶15, and 184. In order to establish a prima facie case of disparate impact, Plaintiffs

must show that an outwardly neutral practice had a significantly adverse or disproportionate


20
     Citations to the City’s 56.1 include references to the exhibits referenced therein.




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        Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 22 of 75




impact on a protected class. See MHANY, 819 F.3d at 617 (citation omitted); Tsombanidis v. W.

Haven Fire Dep’t, 352 F.3d 565, 574-75 (2d Cir. 2003), superseded on other grounds as stated

in MHANY 819 F.3d at 619; Winfield v. City of N.Y., No. 15-CV-5236, 2016 U.S. Dist. LEXIS

146919, at *18-19 (S.D.N.Y. Oct. 24, 2016); Fair Housing in Huntington Comm., Inc. v. Town of

Huntington, 316 F.3d 357, 366 (2d Cir. 2003) (citation omitted).

       If a plaintiff demonstrates a “significantly adverse or disproportionate impact on a

protected class,” a plaintiff must also prove the challenged “practice actually or predictably

results in discrimination.” Tsombanidis, 352 F.3d at 575 (emphasis added). In other words, “the

plaintiff must show a causal connection between the facially neutral policy and the alleged

discriminatory effect.” Id.; Accord Williams v. N.Y. City Hous. Auth., 879 F. Supp. 2d 328, 336

(E.D.N.Y. 2012). A plaintiff has not met its burden “if it merely raises an inference of

discriminatory impact.” Tsombanidis, 352 F.3d at 575; Accord Williams 879 F. Supp. 2d at 336.

As the Supreme Court in Inclusive Communities explained “[a] robust causality requirement

ensures that racial imbalance does not, without more, establish a prima facie case of disparate

impact and thus protects defendants from being held liable for racial disparities they did not

create.” Inclusive Communities, 135 S. Ct. at 2523 (internal citations omitted).

A.     Plaintiffs Have Failed to Demonstrate that the CP policy has a Disproportionate
       Impact on Black New Yorkers Applying for Affordable Housing

       Plaintiffs assert that there are “substantial relative disparities” for “non-dominant” racial

groups (1) relative to the CD typology they are applying to, (2) depending on the stage in the

lottery; and (3) whether or not their application benefits from the CP policy (meaning is either a

CP beneficiary or non-CP beneficiary, which is referred to as “CP status” hereafter). Pls. MOL at

16 (ECF 882 at 23). There are multiple, fundamental flaws in Plaintiffs’ analysis, each of which,

individually or together, necessitates granting the City’s motion for summary judgment.


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        Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 23 of 75




       As will be demonstrated further below, the first fundamental flaw in Plaintiffs’ analysis is

Dr. Beveridge’s failure to demonstrate or even conclude that the CP policy has a disparate

impact on Black people as a group or on any other protected class. Second, Dr. Beveridge

improperly aggregates the data into artificially contrived “CD typologies” as the basis for his

analysis. Third, Dr. Beveridge studies the incorrect outcome of interest, focusing on CP status

rather than the impact of the CP policy on the Lottery Process (and therefore housing outcomes).

Fourth, Plaintiffs’ analysis is done at the incorrect stage of the Lottery Process, and thus fails to

isolate the impact of the CP policy. Fifth, Plaintiffs’ “statistical significance analysis,” which had

not been included in Dr. Beveridge’s reports or supplemental reports, was conducted improperly

and should not be considered. Finally, Plaintiffs fail to meet their burden to demonstrate that the

CP policy causes the purported impact that they claim.

               (a) Plaintiffs’ Analysis Fails to Show an Impact on a Protected Class

       Plaintiffs’ expert, Dr. Beveridge, fails to conclude that the CP policy has a disparate

impact on Blacks as a group, or any protected class, no matter where or when they apply for

affordable housing. Instead, Dr. Beveridge concludes that the CP policy “generally operates to

the material detriment of members of a racial or ethnic group when members of that group are

applying for housing outside of the CD typology in which they are dominant.” See Beveridge

Dec. (ECF 883) at ¶ 8. Based upon this conclusion, Dr. Beveridge’s purported “protected class”

comprises any “members of a racial or ethnic group when members of that group are applying

for housing outside of the CD typology in which they are dominant.” Ostensibly, Plaintiffs’

asserted protected class translates to “Black applicants depending on the racial demographics of

where they apply for housing and their CP status when applying.” Not having the CP (or being

an “outsider” in Plaintiffs’ terms) and not being the same race as the dominant race of the CD

typology in which you apply to housing is not a protected class under the law.

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         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 24 of 75




         A protected class is a static and defined group of individuals – it does not change based

on other outside factors, such as CP status, location of where one lives, or the characteristics of

people other than the class members living in an area. The Fair Housing Act (“FHA”) makes it

unlawful to “refuse to ... otherwise make unavailable or deny, a dwelling to any person because

of race, color, religion, sex, familial status, or national origin.” 42 U.S.C 3604(a) (emphasis

added). See also Tsombanidis, 352 F.3d at 575; Willliams 879 F. Supp. 2d at 336. The NYC

Human Rights Law (“NYC HRL”) provides that a plaintiff may demonstrate “a disparate impact

to the detriment of any group protected by the provisions of this chapter.” NYC Admin. Code §

8-107(17)(a)(1).21

         Plaintiffs’ purported protected class of some Black applicants depending on their CP

status and the racial demographics of where they apply constitutes an inappropriate attempt to

bring a disparate impact action based upon a fluid subgroup of a protected class.22 Under

Plaintiffs’ theory, an applicant could both be in a protected class and not in a protected class at

the same time, which is wholly improper for a disparate impact analysis. 23 See Siskin at ¶ 30.

Contrary to Plaintiffs’ results-driven position, the protected class at issue here is Black New

Yorkers, wherever and whenever they apply for affordable housing. As the Second Circuit has

explained, “the discriminatory effect of a rule arises in two contexts: adverse impact on a

21
   The chapter defines protected groups as “actual or perceived race, creed, color, national origin, gender, age,
disability, sexual orientation, uniformed service, marital status, partnership status, or alienage or citizenship status of
any person or group of persons, or because of any lawful source of income of such person or persons, or because
children are, may be or would be residing with such person or persons.” NYC Admin. Code § 8-107(5)(a)(1).
22
   Plaintiffs’ “class” depends not on the characteristics of a person, but on the characteristics of that person in
relation to the racial demographics of where she applies and her CP status for a given project.
23
  For instance, a Black New Yorker who is a non-CP beneficiary applying in a majority Black CD typology would
not be harmed under Plaintiffs theory (while a White non-CP beneficiary would be harmed) and thus would not be
part of the protected class. Yet, when that same Black non-CP beneficiary applies to a majority White CD typology,
she is allegedly harmed and is part of the protected class.




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          Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 25 of 75




particular minority group and harm to the community generally by the perpetuation of

segregation.” See Huntington, 844 F.2d at 937.

          Courts routinely reject claims of disparate impact based upon subgroups of a protected

class, because the fundamental notion of disparate impact is that the neutral policy has an

adverse effect on a protected class as a whole, not an arbitrary sub-set of the protected class. See,

e.g., Smith v. Xerox Corp., 196 F.3d 358, 369 (2d. Cir. 1999), overruled on unrelated grounds by

Meacham v. Knolls Atomic Power Lab., 461 F.3d 134, 141 (2d Cir. 2006) (“[I]t would be

nonsensical for a court to decide that only some of these plaintiffs established a prima facie case

of disparate impact when they all purport to specify the identical employment practice as causing

a disparate impact”); Criley v. Delta Airlines, Inc., 119 F.3d 102, 105 (2d Cir. 1997) (affirming

summary judgment in favor of defendant where plaintiffs acknowledged that the policy at issue

had “no negative impact” on the entire protected group). See also Siskin at ¶ 19. To state a claim,

the disparate impact must be against the entire protected class, not just the plaintiffs, or a

subgroup of the protected class. See Lowe v. Commack Union Free Sch. Dist., 886 F.2d 1364,

1373 (2d Cir. 1989) (“the Supreme Court generally has focused not on the individual plaintiff as

much as on the adverse effect of the challenged practice on the protected group of which the

plaintiff is a member”); Attenborough v. Constr. & Gen. Bldg. Laborers' Local 79, 691 F. Supp.

2d 372, 386 (S.D.N.Y. 2009) (“[d]isparate impact claims concern the entire population affected

by the identified practice, not merely the subset of affected laborers who happen to have brought

suit”).

          Plaintiffs here are not only asserting claims based upon a subgroup of a protected class,

but because of their analysis results, have abandoned asserting claims with regard to some races

in some CD typologies (the data groups created by Dr. Beveridge based upon the racial



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         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 26 of 75




demographics of a project’s CP area) at certain stages of the lottery. See Pls. MOL 16, 17 fn 16

(ECF 882 at 23-24) and Siskin ¶¶ 32-36 and Table 1. Thus, Plaintiffs have not only improperly

defined their protected class as a fluid subgroup of a protected class (e.g. Black applicants when

they are non-CP beneficiaries and the non-dominant group in a CD typology), but based upon

their analysis results, they have cherry-picked even smaller subgroups from which they assert

their claims of disparate impact.24 However, determining the protected class based upon the

analysis results is not only legally unsupported, see Xerox 196 F.3d at 369-71, but is an invalid

statistical analysis. See Siskin Dec. ¶¶ 37-38.

        As a result of Plaintiffs’ cherry-picking from their analysis results, Plaintiffs are now only

asserting a disparate impact claim on behalf of 42.41% of apparently eligible applicants.25 See

Siskin at ¶ 35; Table 1. This translates into an acknowledgment by Plaintiffs that more than half

of Black apparently eligible applications are not disparately impacted in their ability to be

awarded a unit. Such “‘disparity’ [does not] support the inference of discrimination that the

disparate impact approach permits when those outside a statutorily protected group are preferred

over those included in that group.” Lowe, 886 F.2d at 1373.

                 (b) Race-Based “CD typologies” are the Improper Aggregate

24
  Most notably, Plaintiffs have abandoned any claim on behalf of any race regarding awards in any plurality CD
typology because Dr. Beveridge’s analysis demonstrates that the dominant group for each plurality CD typology is
not the dominant group selected. For example, in a plurality White CD typology, Blacks are the group with the
highest percentage of CP awards. See Beveridge Dec. (ECF 883) at Table 10 ¶ 130; Table 8 ¶ 121. See also Siskin
Dec. at ¶ 34.
25
   “Apparently eligible applicants” are those applicants that meet income and household eligibility criteria for a
specific project based upon self-reported information submitted on their application. Each affordable housing
project typically has multiple income bands, multiple size apartments (e.g. 1 bedroom, 2 bedroom), and
corresponding income ranges and household sizes. For instance, a one bedroom unit at 40% Area Median Income
(“AMI”) will allow a household of one, two or three people, and an income of range of $25,338 to up to $36,400 for
a household of two. A two bedroom unit at 40% AMI will allow a household of two, three, four or five people and
an income range of $30,960 to up to $36,400 for a household of two. The incomes ranges are set so that the rent for
each unit will be no greater than 30% of the household’s income. See Brown Declaration at ¶ 6.




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        Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 27 of 75




        Rather than simply looking at the aggregated affordable housing project data to compare

the citywide impact of the CP policy on Black applicants with the impact on White applicants,

Dr. Beveridge grouped projects together based upon the racial demographics of the community

preference area (“CP area”)26 in which projects are located,27 which he labeled “CD typologies.”

Dr. Beveridge then undertook his analysis based upon these race-based CD typologies.

        However, the CP policy is applied throughout the city, irrespective of the racial

demographics of the location in which the project is built. In circumstances where a challenged

policy is being applied consistently across multiple locations, there is no basis to analyze each

location separately. See e.g. Williams, 879 F. Supp. 2d at 337-338 (suggesting that a proper

disparate impact analysis of a policy that applied to all NYCHA complexes should not be limited

to a single complex so as to use the proper population for comparison). As Dr. Siskin explained:

                         undertaking the analysis on race-based CD
                         typologies is like analyzing the results of an
                         employment test by the racial demographics of the
                         location of the test takers. The location of where a
                         test is taken, let alone the racial demographics of
                         that test location, is irrelevant to the issue of any
                         disparate impact of the test on a particular race. If
                         passing the test in each location is valued the same
                         in the hiring process, then it is the overall pass rate
                         of each race that matters, and not the pass rate at
                         each location.

Siskin at ¶ 24. Thus, as the CP policy is uniformly applied across the City, it should be analyzed

based upon the citywide data, and not smaller race-based groupings. See e.g. Smith v. Xerox

Corp., 196 F.3d at 369-70.

26
   Most often, the preference area is the CD in which the project is located. For some projects, multiple CDs
received the preference.
27
  The experts studied 168 projects’ applicant and award data. These projects went through the Lottery Process
between 2012 and 2017. The projects studied were located in many different parts of the City.




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         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 28 of 75




        By aggregating the data into the small racially defined groups that Beveridge created, Dr.

Beveridge deliberately and improperly manipulated the data toward a self-serving outcome. See

Hollander v. American Cyanamid Co., 172 F.3d 192, 203 (2d. Cir 1999 (finding that the expert’s

age groupings for analysis were misleading); Xerox, 196 F.3d at 370; Lowe v. Commack Union

Free Sch. Dist., 886 F.2d 1364, 1373 (2d Cir. 1989); Fisher v. Vassar College, 70 F.3d 1420,

1443 (2d Cir. 1995) (plaintiff may not “gerrymander” data to skew the results of statistical

analyses); Shannon v. Fireman’s Fund Ins. Co., 156 F. Supp. 2d 279 (SDNY 2001).28

        The methodology employed by the Plaintiffs here is similar to that which was used by the

plaintiffs and rejected by the Second Circuit in Smith v. Xerox. In Xerox, a group of plaintiffs

alleged that Xerox’s decision-making process for reducing its work force had a disparate impact

based on age. Xerox, 196 F.3d at 363. The expert for the plaintiffs undertook analysis based upon

the work units that the plaintiffs had been laid off from, sometimes combining work units to

create a larger pool. The expert found a disparate impact based upon age in all of the work units

he studied. Xerox, 196 F.3d at 366-67. The Second Circuit rejected that analysis, granting the

defendant summary judgment due to the improper subgroup analysis. The Court explained its

rejection of the subgroups in the following manner:

                          In any large population a subset can be chosen that
                          will make it appear as though the complained of
                          practice produced a disparate impact. Yet, when the
                          entire group is analyzed any observed differential
                          may disappear, indicating that the identified
                          employment practice was not the cause of the
                          disparity observed in the subset….

Xerox, 196 F.3d at 369. The Court thus concluded that:


28
  Although these cases involve employment rather than housing discrimination, the case law is applicable here. See
Inclusive Communities, 135 S. Ct. at 2522-23




                                                        21
          Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 29 of 75




                         [I]t would be nonsensical for a court to decide that
                         only some of these plaintiffs established a prima
                         facie case of disparate impact when they all purport
                         to specify the identical employment practice as
                         causing a disparate impact. The decision-making
                         process either caused a disparate impact or it did
                         not.

Xerox, 196 F.3d at 369-71.

          Similarly here, Plaintiffs are challenging a policy used in affordable housing lotteries

throughout the city. Despite this, Plaintiffs undertook their analysis based upon small race-based

groupings of the population—CD typologies—rather than the citywide aggregated data. That

improper analysis purports to show a disparate impact in some, but not all, of the CD typologies

against some, but not all, Black applicants, and it fails to assess the impact of the CP policy on

any protected class. Thus, based upon Xerox, Plaintiffs’ analysis by CD typology fails as a matter

of law.

          Plaintiffs clearly recognize the weaknesses in their use of CD typologies, and go to great

lengths to try to justify their self-serving analysis. Despite Dr. Beveridge acknowledging that

there is no disparate impact if the analysis is done citywide, (“one can imagine some saying,

what is the problem...each racial group is helped somewhere...”) Beveridge Dec. (ECF 883) at ¶

28, Plaintiffs insist that his analysis by CD typology is necessary to address applicants’ “local

preferred area” and show a “discriminatory pattern” of how the CP policy operates. Pls. MOL at

11, 12 (ECF 882 at 19, 20). However, Plaintiffs have cited to no case law in support of their

race-based CD typologies.

          Instead, Plaintiffs, in a strained argument, attempt to distinguish their approach from a

Second Circuit case, Comer v. Cisneros, 37 F.3d 775 (2d Cir. 1994), and attempt to align

themselves with a Massachusetts district court case, Langlois v. Abington Hous. Auth, 234 F.

Supp.2d 33 (D. Mass 2002). Pls. MOL at11 (ECF 882 at 18). However, neither case is on point

                                                  22
            Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 30 of 75




because neither case addresses the scenario before the Court, which is Plaintiffs’ aggregation of

data based upon race. Comer, which challenged a local preference for the Section 8 waitlist

applied to a consortium of suburban towns, was decided on standing grounds and not the merits,

and the decision contains no discussion of expert analysis or how to analyze data. Nor does

Plaintiffs’ reliance on Langlois serve their purposes. In Langlois, the plaintiffs also challenged a

local preference for Section 8 waitlists in multiple towns, but while the analysis was undertaken

for each town separately, the issue of whether that was the correct approach was not raised or

addressed by the court.29 Moreover, each town was a separate defendant with separate records,

and each defendant implemented the challenged preference at different times.

           Furthermore, the expert in Langlois treated each municipality separately and did not

combine municipalities based upon racial demographics, or break down each municipality into

groups based on racial demographics, in the way that Plaintiffs’ expert created CD typologies

here. Id., 234 F. Supp.2d at 59-60. Here, there is a single defendant, a single set of records, and a

single policy at issue. Thus, Plaintiffs’ reliance upon Langlois and attempted juxtaposition of

Comer with Langlois is misplaced.

           Plaintiffs’ reliance upon Connecticut v. Teal, this Court’s decision on Defendant’s

Motion to Dismiss the Complaint (ECF 42), and Inclusive Communities to support their use of

the “locally preferred area” approach is likewise misplaced. Teal stands for the proposition that a

defendant cannot rely upon bottom-line analysis that demonstrates that there is no disparate

impact when there is a dispositive step in the hiring process that impacts the plaintiff’s




29
     In fact, the defendants did not even hire an expert. Langlois, 234 F. Supp.2d at 59.




                                                             23
       Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 31 of 75




opportunity to compete for the job. Teal does not address the degree to which the data should be

aggregated for analysis, but instead addresses the proper stage in which to undertake analysis.

       Like Teal, the Supreme Court in Inclusive Communities did not address the proper

methodology for analyzing data, and Plaintiffs take this Court’s decision on Defendant’s motion

to dismiss the complaint out of context. Contrary to Plaintiffs’ arguments, that decision

addressed whether Plaintiffs had sufficiently alleged there was an injury in order to confer

standing to maintain the lawsuit, not how the parties should undertake their disparate impact

analysis, and is not binding. See e.g. Bank Leumi USA v. Ehrlich, 98 F. Supp. 3d 637, 647

(SDNY 2015) (recognizing the “divergent standard of review applicable to motions to dismiss

and motions for summary judgment”); McAnaney v. Astoria Fin. Corp., 665 F. Supp. 2d 132,

135 (E.D.N.Y. 2009). Cf. United States v. Johnson, 616 F.3d 85, 93 (2d Cir. 2010) (“the

application of law-of-the-case doctrine is generally inappropriate when relevant issues are

governed by different standards of review”).

       Not only do Plaintiffs’ CD typologies lack support in the law, but Plaintiffs’ arguments in

support of them are unsupported by the data. Despite trying to advance their “locally preferred

area” argument in support of CD typologies, Plaintiffs have not conducted any analysis to

support the proposition that there are “preferred areas” where all or even most Black applicants

seek to live, or preferred affordable housing projects where all or even most Black applicants

apply for housing units. Plaintiffs’ analysis treats all CD typologies and all the affordable

housing units within all the CD typologies as interchangeable. Plaintiffs’ expert never identifies

what the preferred affordable housing units are, what the preferred CD typologies are, or any




                                                24
           Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 32 of 75




criteria for how such determinations would be made.30 Additionally, there is nothing “local”

about the CD typologies. Any given CD typology will include projects from multiple CDs, and

even multiple Boroughs, as the projects are grouped by racial demographics of their community

preference area, and not based on their actual locations.

           To the extent that Plaintiffs are assuming that Dr. Beveridge’s majority White CD

typology is the “preferred area,” see Compl. at para 100, the Supreme Court explained that

“disparate impact liability ‘does not mandate that affordable housing be located in

neighborhoods with any particular characteristic.’” Inclusive Communities, 135 S. Ct. at

2523(quoting 78 Fed. Reg. 11476). Nor does the data support the assumption that the preferred

area among New Yorkers who have applied to newly built affordable housing is a majority

White CD typology.31 Of all the applicants that applied to only one CD typology outside their

CD, only 25.7% of Black applicants applied to one or more projects only in a majority White CD

typology. See Siskin Dec. ¶ 43. Indeed, Plaintiff Noel testified that she applied to at least two

projects due to their proximity to Harlem (one of the projects was studied in the litigation and

was categorized by Dr. Beveridge as a majority Black CD typology).32 See Polifione Dec. at Ex.

42 (at 61:13-62:16). Notably, Plaintiff Noel explicitly stated “no” when asked whether racial

demographics of a neighborhood mattered to her in where she lived. See Polifione Dec. at Ex.


30
   In order to undertake a disparate impact analysis based upon a “preferred area” Plaintiffs’ expert would have had
to rank the CD typologies based upon objective facts and then analyzed whether the protected class had a fair chance
to compete for housing in the preferred areas. See Siskin ¶ 44 fn 40.
31
   Plaintiffs’ only differentiation between CD typologies is race. Thus, this “preferred area” argument is based upon
the unproven and unstated assumption that the only consideration people make when deciding where to live is the
racial demographics of the CD typology. In fact, when Plaintiffs themselves testified about how they choose which
affordable housing lotteries to apply to, neither discussed the racial demographics of the neighborhood in which the
project is located as a factor. See Polifione Dec. at Ex 42 (at 89: 17-19) and Ex. 43 (at 32:20-33:3; 33:14-20).
32
     Harlem is a majority Black neighborhood. See WWL at 71.




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        Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 33 of 75




42 (at 52:2-13). Plaintiff Senat applied to over 100 projects all over the City. See Declaration of

Margaret Brown, dated August 14, 2020 (“Brown Dec.”) at ¶ 26. The projects that Dr. Beveridge

studied in this litigation that Plaintiff Senat applied to were categorized as each CD typology

type except majority Asian. See Siskin Dec. ¶ 43 fn 39.

       Finally, there is no merit to Plaintiffs’ attempt to justify their use of CD typologies by

arguing that they illustrate the “existence of [discriminatory] patterns” (i.e. racial groups are

disadvantaged in their ability to access housing areas where they are not the dominant race)

created by the CP policy. Dr. Beveridge’s analysis demonstrates that the dominant race in a CD

typology does not always benefit most from the CP policy. As a result of the inconsistent results

from Dr. Beveridge’s analysis, Plaintiffs are now pursuing their disparate impact claim as to

awards on behalf of only 38.20% of apparently eligible applicants of all races. See Siskin Dec.

Table 1.

       Moreover, even if such pattern were shown, it is irrelevant to a disparate impact analysis.

Disparate impact asks whether Black New Yorkers are able to compete fairly in comparison to

other racial groups. See Siskin at ¶ 41. The racial demographics of where Black New Yorkers are

able to compete for housing says nothing about whether the policy prevents them from

competing for housing fairly. The racial demographics of where Black New Yorkers are awarded

housing is a question that is relevant for an analysis of perpetuation of segregation, and as

discussed in part III, infra, Plaintiffs have not only failed to demonstrate that the Lottery Process

perpetuates segregation, but have shown that it in fact has an overall integrative effect.

       In sum, Plaintiffs’ expert’s creation of and reliance on these race-based CD typologies is

nothing more than an attempt to gerrymander the data for favorable results, is unsupported by the

law, and has no legitimate basis.



                                                 26
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 34 of 75




                  (c) Plaintiffs’ CP v. Non-CP Analysis Identifies the Incorrect Outcome of
                      Interest

         Plaintiffs’ analysis also improperly focuses on results by CP status (CP beneficiary v.

non-CP beneficiary). More specifically, Plaintiffs’ expert uses two methods, the “outsider-to-

insider change” method (Method 1) and the “higher insider share” method (Method 2).33 See

Beveridge Dec. (ECF 883) at ¶¶ 64 and 74. Both methods are trying to describe the same thing—

the extent to which a racial group is able to take advantage of being a CP beneficiary or having

“insider” status. See Siskin at ¶ 48. However, the outcome of interest is not whether an applicant

is a CP beneficiary. What is at issue here is whether and to what extent the CP policy has an

impact on Black affordable housing applicants in their ability to compete for housing. See Siskin

at ¶ 48. The allegation in the complaint is not that Black New Yorkers are being discriminated

against in their ability to be CP beneficiaries, but that the CP policy discriminates against them in

their ability to compete for housing. Dr. Beveridge’s analysis that is limited to CP status only

highlights the ability of Black New Yorkers to be CP beneficiaries as entrants, apparently

eligible applicants,34 and awardees, but not their ability to compete for housing.

         While being a CP beneficiary does improve your odds, it does not guarantee that an

applicant or apparently eligible applicant will be able to compete for affordable housing


33
   Contrary to Plaintiffs assertion, Method 2 is not a “selection rate” similar to what is used in the employment
context. Plaintiffs’ Method 2 looks at the number of CP awards of a race among all the awards, not among all the
apparently eligible applicants. In the employment context, the selection would be the number of people hired of a
particular race out of all the eligible applicants of that particular race. See Siskin at ¶¶ 54, 55; Ward Cove, 490 U.S.
at 653 (1989) (“if the percentage of selected applicants who are nonwhite is not significantly less than the
percentage of qualified applicants who are nonwhite, the employer’s selection probably does not have a disparate
impact.”). Thus, Plaintiffs undertake the incorrect comparison in addition to pursuing the incorrect outcome of
interest.
34
  An apparently eligible applicant is one that, based upon the applicant’s self-reported income and household size as
set forth on her application, appears to meet the income and household size requirements for at least one unit in the
project.




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         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 35 of 75




(meaning being reached and considered by a developer and given the opportunity to confirm

eligibility and interest) or be awarded affordable housing. Some CP beneficiary entrants will

never be considered by a developer, irrespective of the greater odds the CP policy confers on

them because their log number is too high to be reached. Other CP beneficiary entrants will be

considered and even awarded units but not because of their CP beneficiary status.35 Similarly,

not being a CP beneficiary does not mean an entrant or apparently eligible applicant will not be

able to compete for affordable housing or be awarded affordable housing because 50% of the

affordable units are open to non-CP beneficiaries. In short, being a CP beneficiary is not a proxy

for being able to compete for housing. See Siskin ¶ 49. See also Langlois, 234 F. Supp.2d at 61.

        Moreover, Plaintiffs’ methodology causes nonsensical results. Despite identifying the

outcome of interest as being a CP beneficiary, under Plaintiffs’ approach, not all non-CP

beneficiaries are harmed equally. If a Black non-CP beneficiary applies to a CD typology in

which her race is the majority race, Dr. Beveridge would claim that she is not harmed. Yet, if a

White non-CP beneficiary applies to a project in that same CD typology, where her race is not

the majority race, she would be harmed. Such inconsistent results, when both applicants are non-

CP beneficiaries, undermines Plaintiffs’ analytical framework focusing on the increased odds of

a CP beneficiary as compared to a non-CP beneficiary.

        Plaintiffs claim that they must undertake their analysis by CP status because they cannot

compare “persons ‘affected’ by the policy with those ‘not affected by the policy’” here “because

all participants in all groups are affected.” Pls MOL at 17 (ECF 882 at 24). As the Second Circuit


35
  For instance, a CP beneficiary may not be considered for one of the units allocated to people in the CD because
the CP units are filled by the time her log number is reached, however, her log number may still be good enough that
she is considered and awarded a non-preference unit. For a greater understanding of the Lottery Process, please see
the accompanying Brown Declaration and Appendices B and D to the Siskin Declaration.




                                                        28
       Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 36 of 75




has explained, “to be probative of discrimination, statistics must compare the impact of a

particular [policy] decision or practice on those within the protected group and those outside it.”

Criley, 119 F.3d at 105. See also Tsombanidis, 352 F.3d at 575 (“The basis for a successful

disparate impact claim involves a comparison between two groups”); Williams, 879 F. Supp. 2d

at 337-338. In the typical disparate impact case, all applicants are impacted by the policy in some

way, as they are in this case. The question is whether applicants of a certain race (or other

protected class) are disproportionately impacted. See e.g. Ward Cove v. Atonio, 490 U.S. 642,

650-51 (1989), superseded on other grounds by statute as explained in Smith v. City of Jackson,

544 U.S. 228, 125 S. Ct. 1536 (2005).

       Even if the issue before the Court were to determine which group had the most CP

beneficiaries and could take advantage of the policy most, Plaintiffs’ claim would fail. Simply

looking at the overall percentage of each race’s apparently eligible applications by CP status

demonstrates that there is no practical or substantial difference between the racial demographics

of apparently eligible CP beneficiaries and the racial demographics of apparently eligible

applicants that do not have any preferences. See Siskin Table 2. For instance, apparently eligible

applications submitted by Black CP beneficiaries constitute 39.7% of all apparently eligible

applications submitted by CP beneficiaries, and applications submitted by Black apparently

eligible applicants without any preference make up 36.6% of the apparently eligible applications

submitted by apparently eligible applicants without any preference. See Siskin Table 2.

       Indeed, Dr. Siskin demonstrated that Dr. Beveridge’s CP status methodology is

statistically invalid. Dr. Siskin tested Dr. Beveridge’s methodology on a simple set of

hypothetical facts in which it is clear that the CP policy has no impact on who is awarded a unit,

and found that Dr. Beveridge’s methodologies still resulted in an “impact” on Blacks. See Siskin



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        Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 37 of 75




Appendices B and C. Although the facts of the hypothetical are simplified and thus not

representative of the lottery, a fundamental mathematic axiom is that if a methodology is valid, it

should be valid with any facts. Id. However, when Dr. Beveridge’s methodologies were applied

to the hypothetical facts that clearly demonstrate that the CP policy has no impact on the

outcomes, Dr. Beveridge’s methodologies failed to reach the same conclusion, and instead find a

significant impact that Dr. Beveridge would attribute to the CP policy. See Siskin Dec. ¶¶ 55, 56;

Appendix C. Consequently, Dr. Beveridge’s analyses are statistically invalid and inaccurately

attributes “impact” to the CP policy that is not caused by the CP policy at all. Id.

               (d) Plaintiffs Analyze the Incorrect Lottery Stages

       The City is also entitled to summary judgment because the Plaintiffs have not studied the

correct stage of the Lottery Process to establish their claim of a disparate impact in the ability to

compete for affordable housing opportunities. While Plaintiffs fail to clearly define what the

“ability to compete” means, Dr. Beveridge’s analysis addresses the odds of being a CP

beneficiary entrant and apparently eligible applicant (as compared to the odds of being a non-CP

beneficiary entrant and apparently eligible applicant) and the rate of being a CP beneficiary

awardee (as compared to the rate of being non-CP beneficiary). Thus, his analysis focuses on the

purported impact of the CP policy on applicants, apparently eligible applicants, and awards.

       However, the CP policy’s impact is in determining the order in which applicants are

reached and considered by a developer for a unit, because preference units, including CP units,

are allocated first in the Lottery Process. The CP policy has no impact at the application (or

entrant) and apparently eligible application stages. Anyone can apply for a unit in an affordable

housing project. Similarly, the CP policy has no role in the determination of which applications

are apparently eligible (i.e. satisfy income and household eligibility criteria for at least one unit

based upon self-reported information). Thus, Dr. Beveridge’s studies of entrants and apparently

                                                 30
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 38 of 75




eligible applications tells us nothing about the impact of the CP policy on the ability to compete

for housing, and consequently cannot establish Plaintiffs prima facie case of disparate impact.

        While the CP policy does have an impact on the awards, which Dr. Beveridge does study,

such “bottom-line” study is not appropriate. A “bottom-line” analysis of the Lottery Process is

not appropriate when the challenge is to a dispositive barrier at a specific stage of the overall

process (i.e., here, the CP policy is part of the Consideration Stage, which is explained below).36

See Conn. v. Teal, 457 U.S. 440, 452; Dist. Council 37 v. N.Y. City Dep't of Parks & Rec (2d Cir

1997).37 Moreover, a “bottom-line” analysis studying awards confounds the CP policy with other

factors such as actual eligibility and interest, each of which impact whether an applicant is

awarded a unit. See Siskin Dec. ¶¶ 67, 68.

        While Dr. Beveridge only studies the odds of being a CP beneficiary, entrant and

apparently eligible applicant, and the rate of being a CP beneficiary awardee,38 Dr. Beveridge

argues that the “ability to compete” is about being reached and considered by the developer. See

Siskin Dec. ¶ 149 (discussing Beveridge Dec. ¶¶ 180-181). That is the stage—the Consideration

Stage—that Dr. Siskin actually studied, and that Dr. Beveridge should have studied. See Section

III, infra, and Siskin Dec. ¶ 149. Despite his acknowledgment of what the “ability to compete”

means, Dr. Beveridge failed to undertake any analysis at the appropriate stage in the Lottery



36
  While the CP policy is not a dispositive barrier, it has its impact during the Consideration Stage of the Lottery
Process, which can be separated out from the overall Lottery Process, and is dispositive. See discussion of the
Consideration Stage in Section II.B.a, infra.
37
   Indeed, Plaintiffs acknowledge that Dr. Beveridge’s analysis of awards is improper, conceding that “the lack of
level playing field in terms of competition cannot be saved even were defendant able to show bottom-line racial
balance...” Pls. MOL at 10 (ECF 882 at 17).
38
  Dr. Beveridge also studies the odds of being a non-CP beneficiary entrant and apparently eligible applicant, and
the rate of being a non-CP awardee.




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        Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 39 of 75




Process to measure whether the Black applicants (entrants, apparently eligible applicants or

awardees) were disparately impacted in being considered by a developer.

       To the extent that Plaintiffs are actually asserting that the CP policy does influence who

applies for housing, see Beveridge Dec. ¶ 115 fn 50, then their use of any application data at any

stage is inappropriate because all of the application data would be tainted by the CP policy itself.

The appropriate analysis would then be a bottom-line analysis looking at the selection rate of

awards based upon potential applicants, rather than actual application data. See Fortune Soc'y v.

Sandcastle Towers Hous. Dev. Fund Corp., 388 F. Supp. 3d 145, 171-72 (E.D.N.Y 2019) (citing

E.E.O.C. v. Joint Apprenticeship Comm. of the Joint Industry Bd. of the Electrical Indus.,164

F.3d 89, 97 (2d Cir. 1998)); Int'l Bhd. of Teamsters v. United States, 431 U.S. 324, 365 (1977).

Given the ambiguity of Plaintiffs’ position on this point, Dr. Siskin did a bottom-line analysis

using the potential applicant pool (here income eligible New Yorkers) rather than the actual

applicant pool and found that Black awardees are overrepresented in the affordable housing

projects in comparison to the income-eligible potential applicant pool of Black New Yorkers. See

Siskin ¶ 109; Table 5.

       Finally, despite Dr. Siskin’s disagreement with Dr. Beveridge’s CP status analysis at the

entrant, apparently eligible, and award stages, he applied Dr. Beveridge’s CP status approach to

the citywide data, and accounted for the factors that impact the awards other than the CP policy.

In doing so, he demonstrated that Black entrants, apparently eligible applicants and awardees are

not disparately impacted by the CP policy and pass the 80% rule. See Siskin ¶ ¶89-90; Appendix

E, Tables E1-E5.

               (e) Plaintiffs’ Statistical Significance Tests Must be Disregarded

       Plaintiffs’ statistical significance analysis and discussion should be disregarded by the

Court. Tellingly, Plaintiffs’ expert failed to disclose any of his analysis related to statistical

                                                 32
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 40 of 75




significance in his multiple reports and amended reports and supplemental disclosures and

amended supplemental disclosures. For the first time in his declaration in support of Plaintiffs’

partial motion for summary judgment, Dr. Beveridge attempts to assess the degree of the

purported disparities from his analysis by undertaking what he claims to be the 80% test and a

standard deviation test. The law is clear that an expert cannot present analysis or new conclusions

that have not been disclosed during expert discovery. See Fed.R.Civ.Pro. Rule 37(c)(1).

        Not only is Plaintiffs’ reliance improper procedurally, it is improper substantively. The

80% rule is a commonly applied test of practical significance undertaken in disparate impact

analyses. It compares selection rates between the group for which there is an allegation of

discrimination with the selection rate of the dominant group (i.e., the group that is not

discriminated against). “Essentially, this means that if the minority group performs less than 80%

as well as the highest performing group, disparate impact will generally be inferred.” United

States v. City of New York, 637 F. Supp. 2d 77, 87 (E.D.N.Y. 2009) (“City of New York”).39

        Courts also commonly look at the unit of standard deviation between the selection rates

of two racial groups. “Standard deviation analysis measures the probability that a result is a

random deviation from the predicted result--the more standard deviations the lower the

probability the result is a random one.” Id. (quoting Waisome v. Port Auth. of New York & New

Jersey, 948 F.2d 1370, 1376 (2d Cir. 1991). “Basically, looking at standard deviations indicates

how far an obtained result varies from an expected result.” Id. (quoting Xerox, 196 F.3d at 365).

A standard deviation of two units is typically accepted by courts as evidence that the outcome is


39
  Dr. Siskin uses the 80% rule and shortfalls (another of method of measuring practical significance) to measure the
scope of the disparity between Blacks and Whites. Thus, the use of the 80% rule is not in dispute. The issue is that
Dr. Beveridge failed to do demonstrate his application of the 80% rule in his CD typology analyses in his reports,
and also applied the rule incorrectly.




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         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 41 of 75




not due to chance and is legally significant. Hazelwood Sch. Dist. v. United States, 433 U.S. 299,

308 fn14 (1977); City of New York, F. Supp. 2d at 87.

         Dr. Beveridge undertook both analyses incorrectly. Dr. Beveridge attempted to apply the

80% rule to his “outsider to insider change” analyses (Method 1), yet Method 1 does not

calculate any selection rate. Consequently, the 80% rule is inapplicable and provides no

statistical insight into the data.40 See Siskin at ¶ 84. Further, Dr. Beveridge’s “standard deviation”

did not calculate a unit of standard of deviation and did not undertake any comparison between

racial groups. See Siskin at ¶¶ 86, 87. Therefore, Plaintiffs’ conclusion that the purported

disparities Dr. Beveridge’s analysis demonstrates are “substantial” based upon these analyses

must not be considered by the Court as these analyses are procedurally and substantively

flawed.41

                  (f) Plaintiffs’ Fail to Demonstrate Robust Causation

         It is well established that “a disparate-impact claim that relies on a statistical disparity

must fail if the plaintiff cannot point to a defendant’s policy or policies causing that

disparity.” Inclusive Communities Project, 135 S. Ct. at 2523. In establishing disparate impact the

plaintiff must satisfy a “robust causality requirement” Id. “A plaintiff who fails to allege facts at

the pleading stage or produce statistical evidence demonstrating a causal connection cannot make


40
  While the 80% rule could be applied to Dr. Beveridge’s Method 2, as it is a version of a selection rate, it is not a
proper selection rate, see footnote 31 supra, and the CD typologies and other flaws discussed above skew the results.
As discussed in section II(c), Dr. Beveridge’s CP v. non-CP methodology applied to the citywide data (rather than
CD typologies) passes the 80% rule. See Siskin at ¶ 89.
41
  Plaintiffs’ repeated claim that Defendant’s expert has not challenged the substantiality of the findings lacks merit.
See Beveridge Dec. (ECF 883) at ¶ 72. Dr. Siskin refuted Dr. Beveridge’s methodology on multiple grounds.
Moreover, Dr. Beveridge previously never included any analysis to support his claim of substantiality so there was
nothing to respond to directly. Because Dr. Beveridge has now included the analysis in his declaration, Dr. Siskin
now has something to respond to, and has identified many flaws in Dr. Beveridge’s analysis in support of his
conclusion of “substantiality.” See Siskin ¶¶ 82-83.




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        Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 42 of 75




out a prima facie case of disparate impact.” Id. at 2523. See also Conn. Fair Hous. Ctr. v.

Corelogic Rental Prop. Sols., LLC, No. 3:18-CV-705 (VLB), 2020 U.S. Dist. LEXIS 11867 (D.

Conn. 2020); Washington v. United States HUD, 2019 U.S. Dist. LEXIS 127027 at *63

(E.D.N.Y 2019); Fortune Soc’y , 388 F. Supp. 3d at 173; Saint-Jean v. Emigrant Mortg. Co., 337

F. Supp. 3d 186 (E.D.N.Y. 2018).

       Plaintiffs argue that the causation standard for their disparate impact claim under the City

HRL is less stringent than under the FHA, because it only states the challenged practice must

“result[] in a disparate impact.” NYC Admin Code § 8-107(17)(a)(1). While there is no reason to

believe that “result” and “cause” have different meanings, Plaintiffs disregard subsection (17)(b)

of the City HRL, which clarifies that “[t]he mere existence of a statistical imbalance between a

covered entity’s challenged demographic composition and the general population is not alone

sufficient to establish a prima facie case of disparate impact violation unless...there is an

identifiable policy or practice or group of policies or practices that allegedly causes the

imbalance.” NYC Admin Code § 8-107(17)(b) (emphasis added). The NYC HRL also provides

that the defendant may demonstrate an affirmative defense that the challenged policy “does not

contribute to the disparate impact.” Id. at (17)(a)(2).

       Plaintiffs’ methodology of comparisons by CP status and analysis at the incorrect stages

of the Lottery Process confounds many other factors that impact whether an applicant is a CP

beneficiary or likely to be awarded a unit. Contrary to Plaintiffs’ assertion, the CP policy does

not determine the racial demographics of the pool of CP beneficiaries for a specific housing

lottery and the pool of non-CP beneficiaries for a specific housing lottery. As a result, it cannot

be said, and Plaintiffs have not shown, that the CP policy causes any disparate impact on Black

New Yorkers applying for affordable housing. See Siskin at ¶¶ 73, 80.



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         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 43 of 75




         The CP policy is also not determinative of who will be awarded housing or who is able to

compete for housing. There are additional factors and policies that influence whether an

apparently eligible applicant will be considered (and thus able to compete for housing), such as

log numbers, unit type distribution, and other preferences. There are also additional factors

which influence whether a Considered Applicant will be awarded housing. Of key significance is

whether an applicant follows through with the application process by showing up for any

eligibility meetings, by providing the requested paperwork, by actually being eligible, and by not

withdrawing from the application process (i.e. expressing interest).42 See Siskin at ¶ 66.

         Comparing the percentage of applicants each racial group represents within the CP

beneficiary group and within the non-CP beneficiary group (at any stage) will help demonstrate

why comparisons by CP status are inappropriate and do not establish causation. Within the CP

beneficiary group, any difference in the rates of representation of each race cannot be attributable

to the CP policy, as all those within the group are CP beneficiaries. Likewise, comparing within

the non-CP beneficiary group, any difference in the rates of representation is not due to the lack

of the CP beneficiary status, since none of the applicants in that group are CP beneficiaries.

Thus, it is clear that there are factors other than CP status that are causing the differences in the

rates of representation between races within each group.

         Having established that both the CP and non-CP beneficiary groups have racial

disparities within the groups that are not caused by the CP policy, any difference in selection

rates by race between the two groups (CP v. non-CP) are at least in part attributable to factors

that have nothing to do with the CP policy. See Siskin Dec. ¶¶ 74-76. When comparing the
42
  For instance, many applicants for whom developers reach out to for verification of eligibility decide not to pursue
the housing. Plaintiff Senat testified that she made such a decision about at least one project because she did not like
the location of the project. See Polifione Dec. at Ex. 43 (at 80:17-81:8)




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        Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 44 of 75




selection rate of CP beneficiary awardees with non-CP beneficiary awardees by race on the

citywide data, after removing differences among applications within the same CP status group in

order to isolate the effect of CP status, the adjusted selection rates for Black, White and Hispanic

awardees were almost identical and pass the 80% rule. See Siskin Dec. at App. E, Table E5. Dr.

Beveridge fails to account for the differences that have nothing to do with the CP policy, and

erroneously attributes the entirety of the “impact” to the CP policy alone, resulting in a

conclusion that greatly inflates the impact of the CP policy. See Siskin Dec. ¶ 79.

       In sum, Dr. Beveridge’s CP status methodology greatly exaggerates the purported impact

of the CP policy as it confounds factors other than the CP policy that have an impact on

outcomes. Even taking an expansive interpretation of the City HRL, as Plaintiffs argue is

appropriate, does not give the Court carte blanche to find a disparate impact under the City HRL

when the City has demonstrated that Plaintiffs’ methodology does not actually assess or isolate

the impact of the CP policy. See Siskin Dec. at Section II. Dr. Beveridge’s analysis fails to

establish that the CP policy actually causes the purported impact and, thus, Plaintiffs have failed

to meet their burden to demonstrate causation. As such, the City is entitled to summary judgment

dismissing the disparate impact claims.

B.     Disparate Impact Analysis Done Properly

       While the City is entitled to summary judgment because Plaintiffs have failed to meet

their burden to demonstrate a disparate impact as a matter of law, the City’s expert undertook a

proper disparate impact analysis, which demonstrates that the CP policy does not disparately

impact Black or Hispanic New Yorkers applying for affordable housing. In this regard, Dr.

Siskin first isolated the step in the Lottery Process where the CP policy has its impact on the

ability to compete for housing and examined the selection rate at that stage to determine if Black



                                                 37
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 45 of 75




applicants were disparately impacted by the CP policy. Second, he simulated the Lottery Process

with and without the CP policy in order to isolate the impact of the CP policy.43

                   (a) Consideration Study

         Unlike Dr. Beveridge’s attempt at a selection rate analysis, which was done at the

incorrect lottery stage, Dr. Siskin actually isolated the stage in which the CP policy has its impact

on the ability to compete for housing and analyzed that dispositive stage of the Lottery Process.

See Siskin Dec. ¶ 94. By evaluating the role of the CP policy in the Lottery Process, Dr. Siskin

concluded that the appropriate stage in the Lottery Process to best measure the CP policy’s

impact on applicants’ ability to compete for housing is what Dr. Siskin calls the “Consideration

Stage.” This stage falls between an initial finding of apparent eligibility by the developer and the

Confirmation Stage, where actual eligibility and interest44 is confirmed, leading to an award.45

See Siskin Dec. ¶¶ 63-64; 94 An applicant who passes the Consideration Stage (or a “Considered

Applicant”) is one that has been found apparently eligible for at least one unit,46 and who is

43
  As discussed above, see section IIA.(d), Dr. Siskin also did a basic bottom-line analysis of the selection rate of
awards from the income eligible potential applicant pool. This analysis, which showed that Black and Hispanic New
Yorkers were overrepresented in the awards, was undertaken because Plaintiffs’ experts were unclear on whether
they were alleging that the CP policy had an impact on who applies. See Siskin Dec. at Table 5.
44
   We describe the Confirmation Stage as assessing actual eligibility and interest because some applicants, when
invited to verify their eligibility, decide that they are not interested in the project, and thus choose not to verify their
eligibility (i.e. not show up at the meeting or provide required documents. See Siskin Dec. at ¶ 66.
45
   The first step in the Lottery Process is identifying apparently eligible applicants. Then, the developer will
consider the apparently eligible applicants in the various set-aside and preference groups by log order. The CP
beneficiary apparently eligible applicants are reached and considered by the developer after the disability preference
applicants and before the municipal employee applicants. Once the preference units are filled, the developer returns
to the log and fills the non preference units in log order. For an explanation of the Lottery Process, please see the
Brown Declaration.
46
   Plaintiffs’ reliance upon Comer for the proposition that it is appropriate to study applicants and not just apparently
eligible applicants is misplaced. As discussed above, the Court in Comer was addressing standing (among other
defenses), and was not addressing the appropriate group to analyze in disparate impact. See also Hazelwood 433
U.S. at 308. (“a proper comparison was between the racial composition of Hazelwood’s teaching staff and the racial
composition of the qualified public school teacher population in the relevant labor market”)).




                                                             38
        Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 46 of 75




apparently eligible for at least one available unit at the time the developer reaches that

applicant’s lottery number for further consideration, and is thus invited to verify eligibility. See

Siskin Dec. ¶ 63. A Considered Applicant has gotten through the front gate, and is able to

compete for affordable housing by verifying their eligibility and interest during the Confirmation

Stage. The CP policy, among other things (such as the log number and other preference),

influences the order in which applicants are reached by a developer for consideration and thus

impacts who passes the Consideration Stage. The Consideration Stage is where the CP policy is

implemented and has its impact. If an applicant does not pass the Consideration Stage, they are

not able to compete for housing by confirming their eligibility and interest. See Siskin Dec. ¶ 64.

Thus, in order to determine whether the CP policy has an impact on Black applicants in the

ability to compete for housing, one must study the rate in which apparently eligible applicants

are considered (invited to verify eligibility) (i.e. the Consideration rate) by race. Id. at ¶ 67.

        When Dr. Siskin studied the Consideration rate, he found that the Consideration Stage

does not have a disparate impact on Black apparently eligible applicants. See Siskin Dec. ¶ 96. In

other words, the rate by which Black apparently eligible applicants passed the Consideration

Stage (i.e. were invited to further verify their eligibility and compete for housing because they

were apparently eligible and there was a unit available for them at the time they were reached by

the developer) was almost the same as the rate for Whites. See Siskin Dec. ¶ 96; Table 3.

        The Consideration rate for Black apparently eligible applicants was 12.54% while the

rate for White apparently eligible applicants was 12.80%, resulting in passing the 80% rule at

97.97%. See Siskin Dec. ¶ 97; Table 3. This means that Consideration rate for Black apparently

eligible applicants was 97.97% of the Consideration rate of White apparently eligible applicants.

See Siskin Dec. ¶ 99; Table 3.



                                                   39
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 47 of 75




        Another way to understand practical significance is to calculate how many more (or

fewer) awards would have resulted for each race if there had been no difference in the

Consideration rate between the races, and therefore no impact on any race (also known as racial

parity). Dr. Siskin determined that only 90 (or 0.9%) of the 10,245 awards would need to change

in order to achieve racial parity. With racial parity in the Consideration rate and award rate, there

would have been 25 fewer White awards, 29 more Hispanic awards, 61 more Asian awards, and

43 fewer Black awards. See Siskin Dec. ¶ 100; Table 3 This is a very small difference and does

not support a finding of disparate impact. See Id.

        Therefore, the City is entitled to summary judgment because not only did Plaintiffs fail to

study the part of the Lottery Process where the CP policy has its impact, but the City’s analysis

of the proper stage demonstrates that Black apparently eligible applicants are not disparately

impacted during the Consideration Stage, when the CP policy has its impact.

                 (b) Simulation

        In order to isolate the impact of the CP policy, Dr. Siskin simulated the lottery both with

the CP policy in effect and not in effect.47 Dr. Beveridge conceded that the proper “ baseline

comparison is an equal-access lottery (no community preference).” See Polifione Dec. at Ex. 47

at ¶ 83. This Court also reiterated that to establish causation one must compare the results with

and without the CP policy. See Winfield v. City of N.Y., No. 15-CV-5236, 2016 U.S. Dist. LEXIS

146919, at *21-22 (S.D.N.Y. Oct. 24, 2016) (explaining that at the pleading stage causation need

not be established but that “[d]iscovery may well prove that removal of the Community


47
  Dr. Siskin’s simulation assumes that the same amount of affordable housing in the same locations would be built
without the CP policy in place. It is the City’s contention that less affordable housing would actually be built
without the CP policy, as the ability to address community members and Council Members’ fear of displacement
would be severely hindered.




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         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 48 of 75




Preference Policy would have no impact on the racial and ethnic makeup of eligible affordable

housing applicants…”) (emphasis added). Further, Dr. Beveridge adopted Dr. Siskin’s

simulation outcomes with the CP policy in effect-although he then converted them into his

convoluted CD typology and CP status analysis instead of comparing them to the simulation

outcomes without the CP policy in effect. See Beveridge Dec. (ECF 883) at Table 9. Thus, Dr.

Siskin’s simulation is not in dispute, nor is it in dispute that comparing the results with and

without the CP policy is the appropriate measure method to actually isolate impact of the CP

policy.48

        Dr. Siskin’s simulation results show that there is no legally significant difference by race

in who is awarded housing with or without the CP policy. 49 See Siskin Dec. ¶ 105; Table 4.

Without the CP policy, Black apparently eligible applicants would have received only 141 more

units out of 10,245 units. Id. Applying the 80% rule to compare the difference in the impact of

the CP policy on each racial group shows that all groups were at least 80% of the rate for Whites,

meaning that the disparity is not practically significant and is insufficient to establish a prima

face case.50 Id. at ¶ 106. Therefore, as it is undisputed that the proper comparison is between the

results with and without the CP policy and as the simulation results demonstrate a very small, but

not legally significant difference in the results by race with and without the CP policy, the City is


48
  Simulations have been relied upon by the Courts to demonstrate disparate impact under the FHA. See e.g. Davis v.
N.Y.C. Hous. Auth., 103 F. Supp. 2d 228, 231-32 (S.D.N.Y. 2000)
49
   Dr. Siskin’s simulation, which compares the awards with the CP policy in place and the awards without the CP
policy in place, is not a bottom-line study. The simulation controls for the confirmation stage (where actual
eligibility and interest is confirmed and in real life many people drop out or are found ineligible) by assuming that
anyone who passes the Consideration Stage is awarded a unit. Thus, for purposes of the simulation, Considered
Applications and awardees are one and the same.
50
  In fact, if the CP policy were eliminated, the Black share of the awards would only increase by 1.38 percentage
points. See Siskin ¶ 105.




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         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 49 of 75




entitled to summary judgment dismissing the Plaintiffs’ disparate impact claims. See Ungar v.

NYCHA 363 F. App’x 53, 55-56 (2d. Cir 2010) (“the policy in question imposes a ‘significantly

adverse or disproportionate impact’ on a protected group of individuals.” quoting Tsombanidis,

352 F.3d at 575.)

                                                   POINT III

                           THE CP POLICY INTEGRATES AND DOES
                           NOT PERPETUATE SEGREGATION

        Plaintiffs have also failed as a matter of law to establish that the CP policy perpetuates

segregation. The Second Circuit has made clear that to establish a prime facie case of

perpetuation of segregation; Plaintiffs must demonstrate that the CP policy “significantly”

perpetuates segregation. See Davis v NYCHA 166 F.3d 432, 438 (2d Cir 1999), Huntington, 844

F.2d at 938. See also Gilmore v. Montgomery, 417 U.S 556 (1974). In other words, the

perpetuation of segregation must be “legally significant.” Davis, 166 F.3d at 438. As with

disparate impact, Plaintiffs must also establish robust causation. Inclusive Communities, 135 S.

Ct. at 252351 “A robust causality requirement ensures that ‘[r]acial imbalance . . . does not,

without more, establish a prima facie case of disparate impact’ and thus protects defendants from




51
   Plaintiffs argue that their purported perpetuation of segregation claim under the City HRL should not be governed
by the Supreme Court’s “robust causation” standard, but rather what Plaintiffs claim to be a more lenient standard
set forth in Huntington (“shown to have a racially disproportionate effect”). Pls. MOL at 44 (ECF 882 at 51). Such
argument lacks merit. If such perpetuation of segregation claim is read into the City HRL (and Plaintiffs cite to no
case law making such interpretation, nor is the City aware of any), it would be done through the disparate impact
provision in the City HRL, and should thus follow the same standards as the disparate impact provisions. See NYC
Admin. Code §§ 8-107(17)(a)(1)(the challenged practice must “result[] in a disparate impact.”) and 8- 107(17)(b)
(“there is an identifiable policy or practice or group of policies or practices that allegedly causes the imbalance”)
(emphasis added).




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         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 50 of 75




being held liable for racial disparities they did not create. Inclusive Communities, 135 S. Ct. at

2523. (quoting Wards Cove, 490 U. S. at 653).52

        Segregation is commonly measured on an index called the Dissimilarity Index. It assesses

segregation between pairs of racial groups (such as Black-White, Asian-Hispanic), measuring on

a scale from 0 to 1 the extent that each race’s representation in a census tract differs from that

race’s citywide representation. The closer to 1, the more varied the Black and White

representation in the census tracts are from their overall citywide representation, or in other

words, the more segregated the two races are in comparison to each other. 53 Thus, the best way

to measure whether the CP policy perpetuates segregation is to determine what impact it has on

the Dissimilarity Index.54

A.      Integrating Less is Not Perpetuating Segregation

        It is undisputed by the parties that the Lottery Process with the CP policy has a small

integrative effect, or in other words, slightly reduces the Dissimilarity Index. See e.g. Pls. MOL

at 34 (ECF 882 at 41) (defining the issue as “whether the policy predictably creates less

integration in the City as a whole than would an equal access system”)(emphasis added) and

Beveridge Dec. ¶ 161 (Table 11), 152 and 158 (demonstrating and comparing “outsider net-


52
   The robust causation and burden shifting set forth in Inclusive Communities applies both to disparate impact and
perpetuation of segregation claims under the FHA, as they are simply two ways of demonstrating discriminatory
effect. See Huntington, 844 F.2d at 937. See also Inclusive Communities 135 S. Ct. at 2513-14; 2522 (deciding
disparate impact liability exists under the FHA in a case where the allegation was that the defendant “caused
continued segregated housing patterns’).
53
   For instance, if Blacks represented 35% of a city and Whites represented 50% of a city, the Black-White
Dissimilarity Index would be 0 if there were perfect representation of each race in every census tract. The closer to
1, the more the Black and White representation in the census tracts vary from their overall citywide representation.
54
  Dr. Beveridge relied upon the Dissimilarity Index in his reports in an attempt to demonstrate perpetuation of
segregation. Dr. Siskin responded to Dr. Beveridge’s conclusory arguments by actually measuring the impact of the
Lottery Process with and without the CP policy on the Dissimilarity Index.




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         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 51 of 75




integration with insider net-integration”). Unable to dispute the integrative effect of the Lottery

Process with the CP policy in place, Plaintiffs attempt to change the issue before the Court from

whether the CP policy perpetuates segregation to whether the Lottery Process would be even

more integrative without the CP policy. While Plaintiffs are attempting to persuade this Court to

adopt such an interpretation of “perpetuation of segregation,” Plaintiffs have cited no case law

that supports the notion that a practice with an integrative effect actually perpetuates segregation

if removing or changing one aspect of the practice would result in an even greater integrative

effect.55 Nor is the City aware of any case law to support such a proposition.

         The facts before the Court are the opposite of the fact patterns where the Second Circuit

has held that a policy or decision perpetuates segregation. For instance, in MHANY, the Second

Circuit affirmed the district court’s finding of a prima facie case of perpetuation of segregation

because the county’s decision not to change the zoning to allow multi-family housing

“decrease[d] the availability of housing to minorities in a municipality where minorities

constitute approximately only 4.1% of the overall population . . . and only 2.6% of the

population living in households [as opposed to group environments such as dormitories].”

MHANY, 819 F.3d at 620 (internal citations to district court removed). In Huntington, the

Second Circuit found that blocking a multi-family project that was dedicated to being at least

25% minority tenants in a 98% White area of the city and limiting affordable housing




55
   Plaintiffs’ reliance upon Huntington (which they cite to with a Cf) for the proposition that “retarding the
percentage of relatively more integrative non-beneficiary moves that can proceed constitutes perpetuation of
segregation” is misplaced. Pls. MOL at 39 (ECF 882 at 46). In Huntington the zoning policy mandated that
affordable housing be built in areas that were segregated and prevented affordable housing from being built in areas
that would result in an integrative effect. That is wholly distinguishable from the facts here, in which the housing is
not being blocked from being built, and is already having an integrative effect.




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         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 52 of 75




development to segregated areas of the city where minorities already live constituted

perpetuation of segregation. See Huntington, 844 F.2d at 937.

        In contrast, here, the Lottery Process with the CP policy has an integrative effect on New

York City as a whole, and it also diversifies the majority White CD typologies, on which

Plaintiffs focus their most attention. According to Dr. Beveridge’s own data, the affordable

housing projects in the majority White CD typology have a population of 22.6% White, 19.4%

Black and 33.9% Hispanic, while the surrounding neighborhood (the White CD typology) has a

population of 60.65% White, 6.34% Black and 18.78% Hispanic. See Siskin Dec. ¶ 147. This

demonstrates that the Lottery Process with the CP policy in place results in housing projects that

are substantially more racially diverse than the majority White CD typology in which it is

located. Thus, following the approach taken by the Second Circuit in the cases discussed above,

the CP policy does not perpetuate segregation as a matter of law.

        Further, adopting Plaintiffs’ interpretation of perpetuation of segregation (i.e., less

integration) would have extreme practical ramifications for municipalities. Such an interpretation

would require municipalities to pursue the most integrative policy, even when they are already

pursuing a policy that is integrative, and notwithstanding other valid interests. The City, like all

municipalities, has many very important housing policy initiatives and goals that require

attention, as well as non-housing goals and initiatives.56 The City’s housing initiatives are

intended to help low-income communities that are often disproportionately Black and Brown

communities. The Supreme Court held that the FHA “does not decree a particular vision of urban

development; and it does not put housing authorities and private developers in a double bind of
56
  For example, the City is confronted with a homelessness crisis, a housing crisis that is most severe for low-income
renters, an aging housing stock in need of recapitalization and rehabilitation, and a variety of new housing issues
resulting from COVID-19.




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         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 53 of 75




liability” when pursuing complex and sometimes competing housing issues. To further interpret

perpetuation of segregation to mean that the City must pursue the most integrative policies, even

if their policies do not segregate and are integrative, will make it impossible for the City to

achieve its housing goals without being dragged into lengthy and costly litigation, as has been

the circumstances here. Such an outcome is inconsistent with the Supreme Court’s ruling in

Inclusive Communities and will do more harm than good.

B.       The CP policy Does Not Result in Significantly Less Integration

         However, even if, arguendo, the Court were to agree that a prima facie case of

perpetuation of segregation can be made based upon a finding that the challenged policy results

in less integration than may be possible without it, the City is still entitled to summary judgment.

The case-law on perpetuation of segregation makes clear that a defendant will not be liable for

perpetuating segregation unless it has a significant effect. See Davis 166 F.3d at 438,

Huntington, 844 F.2d at 938. See also Gilmore v. Montgomery, 417 U.S 556 (1974). Thus, if a

small amount of perpetuation of segregation is not legally sufficient to establish a prima facie

case of perpetuation of segregation, then a policy that minimally reduces the integrative effect of

a process certainly cannot be legally sufficient to establish a prima facie case. Dr. Siskin has

demonstrated that the housing lottery without the CP policy in place would only have a trivially

greater integrative effect, a change in the fourth decimal point on the Dissimilarity Index, which

is typically only reported to the second decimal place.57 See section III.C, infra and Siskin Dec.

at ¶ 127; Table 8. Moreover, as more fully discussed in section III.D infra, Plaintiffs’ attempt to



57
  Dr. Beveridge, who calculated the Dissimilarity Index in his Declaration and expert reports in this case reported it
to the second decimal place. See Beveridge Dec. at ¶ 37 (Table 1). Thus, these changes in the fourth decimal place
would not result in any change in the Dissimilarity Index as reported by Dr. Beveridge.




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         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 54 of 75




measure the amount of additional integration that would occur without the CP policy in place is

seriously flawed.

C.       Perpetuation of Segregation Analysis Done Properly by Dr. Siskin58

         Similar to his disparate impact analysis, Dr. Siskin measured the extent to which the CP

policy impacts the Dissimilarity Index in two ways. First, Dr. Siskin used his simulation of the

housing lottery outcomes with and without the CP policy and applied those outcomes to the

Dissimilarity Index in order to isolate the impact of CP policy on the Dissimilarity Index. The

impact of the CP policy on the Dissimilarity Index with regard to all six racial pairings59 is

trivial, resulting in the Dissimilarity Index being slightly higher (a change in the 4th decimal

place) than it would be without the CP policy in place. See Siskin Dec. ¶ 127; Table 8. However,

the awards as a result of the Lottery Process (with the CP in effect) have an overall integrative

effect, reducing the Dissimilarity Index in the fourth decimal place. See Siskin Tables 7 and 8.

Thus, as the net effect of the awards allocated through the Lottery Process with the CP policy in

place is integrative, it is an issue of integrating less, rather than perpetuating segregation.

         For instance, with the White-Black Dissimilarity Index, the Lottery Process with the CP

in effect resulted in a decrease of .00075 on the Dissimilarity Index. The Lottery Process without

the CP in effect resulted in a decrease of .00119 on the Dissimilarity Index. Thus, the CP


58
  It is necessary to explain Dr. Siskin’s perpetuation of segregation analysis before addressing the flaws in Dr.
Beveridge’s analysis because Dr. Beveridge’s analysis is based off of Dr. Siskin’s analysis. During expert discovery
with two rounds of reports for each expert and amended reports, Dr. Beveridge’s “perpetuation of segregation”
analysis was nothing more than pointing to the “pattern” that his “disparate impact” analysis purportedly created in a
segregated city. However, as discussed above, see II.A.a, supra, no true pattern was actually shown and Plaintiffs
abandoned much of the “disparate impact” claim. Consequently, in a “supplemental report” served after the close of
expert discovery, Dr. Beveridge adopted Dr. Siskin’s perpetuation of segregation data and manipulated it into his
“analysis.”
59
   The six racial pairings are: Black-White, Black-Hispanic, Black-Asian, White-Hispanic, White-Asian, and
Hispanic-Asian.




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            Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 55 of 75




policy’s effect is the difference between the two, or a trivial increase of .00044. See Siskin Dec.

at Table 8.

           Second, Dr. Siskin studied the impact of the Lottery Process60 on the Dissimilarity Index

and further isolated the impact of the Consideration stage, the stage in the Lottery Process in

which the CP policy has its impact in determining which applicants will be given the opportunity

to verify eligibility and interest and be awarded a unit. As with the simulation, the Consideration

study demonstrated the integrative effect of the awards allocated through the Lottery Process.

See Siskin Dec. at Table 7. It also demonstrated that the Consideration Stage (during which the

CP policy is implemented and has its effect) makes the Dissimilarity Index trivially higher than it

would if the Lottery Process excluded the Consideration Stage. Specifically, the impact of the

awards allocated through the Lottery Process on the White-Black Dissimilarity Index with the

CP in effect is to decrease it by .00055 (thus making it more integrative), while the Consideration

Stage the impact on the Dissimilarity Index is to decrease it by .00114 (thus making it more

integrative and more integrative than before the Confirmation Stage impact) See Siskin Dec.

at Table 7. Said differently, without the impact of the Conformation Stage, in which the CP

policy has its impact, the White-Black Dissimilarity Index would decrease by .0001 as opposed

to .00055 (the actual amount it decreased with the Conformation Stage in place). See Siskin Dec.

Table 7. Thus, the Consideration Stage results in a trivial amount of less integration.61

           The de minimus amount of greater integration measured by both of Dr. Siskin’s

approaches that would occur without the CP policy is not substantial enough to be “legally


60
  While the study of awards will not isolate the impact of the CP policy, it is the awardees that actually have an
impact on the Dissimilarity Index, as they are the people moving into the housing.
61
     It also demonstrates that the Confirmation Stage also results in slightly less integration. See Siskin at Table 7.




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         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 56 of 75




significant” and therefore is insufficient to support a finding of perpetuation of segregation as a

matter of law. See, e.g., Davis, 278 F.3d at 66 (holding that a reasonable delay in desegregation

mandated by a consent decree due to the working family preference did not constitute

perpetuation of segregation).

D.      Plaintiffs’ “Measure” of the CP Impact is Flawed

        Plaintiffs do not challenge Dr. Siskin’s perpetuation of segregation simulation or

consideration analyses. In fact, Plaintiffs adopt the outcomes from parts of each of Dr. Siskin’s

analyses and then categorize the outcomes by CP status to evaluate whether CP beneficiaries are

more integrative than non-CP beneficiaries. However, an applicant’s CP status is irrelevant to

whether that applicant will have an effect on the level of segregation in New York City if

awarded housing, and given Dr. Siskin’s clear findings, of which Dr. Beveridge adopts part,

there was no valid reason to take the additional step he takes. Dr. Beveridge’s analysis is simply

a manipulation of the undisputed outcomes.62

        Dr. Beveridge’s “analysis” finds that both CP beneficiaries and non-CP beneficiaries

have a net integrative effect, but that non-CP beneficiaries are more integrative than CP

beneficiaries. See Siskin Dec. ¶ 131. Dr. Beveridge’s calculation attempting to “measure” the

difference in the integrative effect between CP beneficiaries and non-CP beneficiaries is flawed.

His calculation greatly inflates the outcomes, making it seem like non-CP beneficiaries are

significantly and materially more integrative than CP beneficiaries. See Siskin ¶ 133.

        Finally, Dr. Beveridge includes, for the first time in his declaration in support of

Plaintiffs’ motion, analysis results from the application of the 80% percent rule and a statistical


62
  If Dr. Beveridge were to dispute the simulation outcomes, he would be putting his own analyses into question, as
they rely upon part of Dr. Siskin’s outcomes.




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         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 57 of 75




significance test. As discussed above in section II.A.e, supra, these results should not be

considered by the Court as they are procedurally and substantively flawed. In addition to the

reasons discussed above, the valid tool to measure segregation, and changes in segregation, is the

Dissimilarity Index, as presented by Dr. Siskin. The application of the 80% rule and “standard

deviation” have no role in measuring the CP policy’s effect on integration. See Siskin Dec. ¶

141.

E.      Plaintiffs Failed to Demonstrate that the CP policy “Causes” Perpetuation of
        Segregation

        As discussed in Section II(A)(f), Plaintiffs’ attempt to demonstrate “robust causation”

likewise fails. Plaintiffs do not actually demonstrate causation, but instead appear to rely upon

their original perpetuation of segregation “analysis” that simply concluded from the disparate

impact analysis that “if you start with a segregated CD you will predictably have more

segregation....” because the “dominant race” is more likely to benefit from the CP policy. Pls.

MOL at 36 (ECF 882 at 43). Yet, Dr. Beveridge’s own analysis demonstrates that this is not the

case, in particular in plurality CD typologies (and Plaintiffs abandoned that aspect of their

disparate impact claim). For instance, Dr. Beveridge’s data demonstrates that in the plurality

White CD typology, Black CP beneficiary awardees received the largest percentage of CP

beneficiary awards. Even in majority White CD typologies, Dr. Beveridge’s data demonstrates

that Hispanic CP beneficiary awardees received the largest percentage of CP beneficiary awards.

See Siskin Dec. ¶ 7 and Beveridge Dec. at Exhibit 11. Thus, Plaintiffs’ argument relies upon an

assumption that Dr. Beveridge’s own analysis actually and definitively disproves.63



63
  In addition to Dr. Beveridge’s own analysis demonstrating that this conclusion is unfounded, there are several
other problems with such assumption. These include, but are not limited to, the fact that Plaintiffs make this
assumption without assessing the racial demographics of where an awardee moved from. They also fail to recognize
Continued…

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         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 58 of 75




                                                 POINT IV

                         THE CP POLICY IS NECESSARY                               TO
                         ACHIEVE VALID INTERESTS

        Even if the Court were to find that Plaintiffs had established their prima facie case of

disparate impact or perpetuation of segregation (or that there is an issue of fact as to whether

they could establish their prima facie case), summary judgment should still be granted to the City

because the City can demonstrate with irrefutable evidence that the CP policy is “necessary to

achieve a valid interest.” Inclusive Communities, 135 S. Ct. at 2523. See also MHANY, 819 F.3d

at 617 (holding that a policy must be necessary to “a legitimate, bona fide governmental

interest”). In its guidance on what constitutes a “valid interest,” the Supreme Court in Inclusive

Communities explained that government officials “must often make decisions based on a mix of

factors, both objective (such as cost and traffic patterns) and, at least to some extent, subjective

(such as preserving historic architecture). These factors contribute to a community’s quality of

life and are legitimate concerns for housing authorities.” Inclusive Communities, 135 S. Ct. at

2523. “[T]he inquiry is whether the proffered justification is of substantial concern such that it

would justify a reasonable official in making this determination.” Huntington, 844 F.2d at 939.

The standard under the City HRL is that the challenged practice “bears a significant relationship

to a significant business interest.” NYC Admin. Code § 8-107(17)(a)(2). As set forth below, the

City’s interests easily meet both the FHA and City HRL standards.64


that the racial demographics of a project’s census tract may differ from the overall CD demographics. See Siskin
Dec. at ¶ 144.
64
   Indeed, it has been held that “‘NYCHRL housing discrimination claims are analyzed under the same standard as
claims made under the FHA’ because they contain language that is substantively identical to that of the FHA...”
Fortune Soc’y, 388 F. Supp. 3d at 178 (quoting Haber v. ASN 50th St. LLC, 847 F. Supp. 2d 578, 588 & n.5
(S.D.N.Y. 2012).




                                                       51
        Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 59 of 75




A.     The CP policy is Necessary to Address Displacement and the Fear of Displacement

       The CP policy is necessary to address two significant, bona fide public policy issues:

preventing the displacement of low-income residents, thereby giving them a greater opportunity

to remain in their communities if they choose, and responding to the fear of displacement, which

in turn helps overcome opposition to the construction of new affordable housing and helps garner

necessary approvals for affordable housing. See City 56.1 ¶¶ 67, 68, 71, 75, 14, 15, 95.

       Given the longstanding housing crisis with extremely low vacancy rates, and rents

increasing faster than wages, low-income households have been and continue to be at risk of

displacement from their homes and communities. See City 56.1 ¶¶ 96, 97, 99, 102. As noted

above, studies estimate the rate of displacement in New York City to be between 5.1 and 7.1

percent a year. See Goetz Dec. ¶ 27. The City has taken a comprehensive and aggressive

approach to addressing the housing crisis and preventing displacement, including subsidizing

new affordable housing and preserving affordable housing, creating laws to prevent landlord

harassment, providing free legal services to tenants in housing court, and having a robust

reporting system for Housing Maintenance Code violations. See Been Dec.¶ 77; City 56.1 ¶¶ 87-

94. The CP policy is a necessary part of this multi-faceted housing and anti-displacement

strategy. Id. ¶¶ 77-81 See Goetz Dec. ¶ 55; City 56.1 ¶ 95.

       The CP policy ensures that some low-income community members who want to remain

in their neighborhoods will be able to do so by being given a greater opportunity to access the

new affordable housing constructed in their community district. This provides opportunities for

local residents to age in place in a building with an elevator, to move to an apartment that fits

their growing family, or find a newly constructed home of much higher quality while not

uprooting their family. The policy also enables those residents who secure an affordable unit to

enjoy the benefits of rent stabilization, which provide protection from market pressures (such as

                                                 52
       Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 60 of 75




sharply rising rents), for as long as they remain in the home. Further, the policy allows those

residents to enjoy and benefit from the City’s investment in the community over time. See Been

Dec. ¶¶ 43, 60.

       The harms of displacement are well documented and varied. See Goetz Dec. ¶¶ 41-50. To

name only a few, displacement can have a negative effect on mental health, result in the loss of

connections to social networks and support systems, and cause problematic outcomes in

employment and school. See City 56.1 ¶¶ 79-80. School instability has in turn been shown to be

detrimental to achievement. See Goetz Dec. ¶ 49. Displacement due to gentrification has been

found to cause a sense of fear and anxiety that the displaced household will be displaced again in

the future. Id. ¶ 41-42. “A recent study of New York City published in a major science journal

found that ‘displaced residents were more likely to make emergency department visits and

experience hospitalization, mainly due to mental health.’” Id. ¶42. Indeed, due to the seriousness

and pervasiveness of displacement of low-income people, HUD has required municipalities to

create anti-displacement plans when receiving federal funds. See 24 CFR 42.325(a).

       In addition to actually preventing the displacement of low-income people from their

communities, the CP policy also helps address community members’ rational fears of

displacement. City 56.1 ¶¶ 102-104. Those fears create of displacement most often get expressed

when new development—even affordable housing development—is proposed in a community

vulnerable to gentrification and displacement. See City 56.1 ¶¶ 109, 111, 112. The fear of

displacement among low-income New Yorkers is a significant force in the opposition to the

construction of housing in New York City. See Been Dec. ¶¶ 45, 52; City 56.1 ¶¶110, 113. Low-

income residents fear that development and investment, along with market changes that are often

already taking place, will spur increased housing and living costs, making their apartments and



                                                53
       Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 61 of 75




neighborhoods unaffordable. City 56.1 ¶¶ 111, 112. They also fear that the increased value of

their apartments may cause landlords to refuse to renew their lease or harass them to leave the

apartment. This fear is particularly strong in Black and Brown communities, where there is a

history of discrimination, segregation and displacement. See Been Dec. ¶¶ 46, 47 and 69; City

56.1 ¶¶ 104. The CP policy provides assurance that some current residents will not be displaced

when investment comes to their neighborhoods.

       By addressing people’s fears of displacement when development is proposed in their

communities through assurances that residents will have a greater chance at obtaining the

affordable housing, and thereby avoid displacement, the CP policy helps overcome opposition to

affordable housing caused by such fear. Overcoming community opposition plays a crucial role

in obtaining the approvals needed for many affordable housing projects. Most land use actions

related to affordable housing are subject to the review and approval of the members of the City

Council, and thus Councilmembers seek assurance that the CP policy will be in place so that

they, in turn, can assure their constituents that the development will serve them and help them

avoid displacement from their community. See City 56. 1 ¶¶ 107, 82-84

B.     The City Has Demonstrated Sufficient Evidence of its Legitimate Interests

       Plaintiffs do not dispute that the City is dealing with a housing crisis and an even more

severe housing crisis for affordable housing serving low-income people. See Polifione Dec. at

Ex.   It is also undisputed that displacement of low-income people from their homes and

neighborhoods is a phenomenon that is occurring in New York City and in many other cities

across the nation. Dr. Beveridge himself stated “there is evidence of displacement, some

displacement going on in New York....” Polifione Dec. at Ex. 45 (at 34:22-35:1). Additionally




                                              54
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 62 of 75




Professor Orfield65 oversaw a study on displacement across the country, finding that the level of

displacement in New York region was “severe” and agreed that there has been a significant trend

of low income displacement in New York City compared to other cities in the Midwest. See

Polifione Dec. at Ex. 49 (at 79:13-80:1). He further agreed that given the rate of displacement in

New York City, the fear of displacement was a reasonable fear. See Id. (at 81:23-82:1). It is

further undisputed that displacement can be harmful to people and warrants a public policy

response. See Polifione Dec. at Exs. 49 (Orfield at 63:18-20 and 53:3-20; 56:13-20) and 44

(Beveridge rebuttal report, generally). Indeed, Professor Orfield acknowledged that when Black

families are “pushed out of neighborhoods... that certainly is a harm to black families that would

be a Fair Housing issue.” Polifione Dec. at Ex. 49 (at 64:10-14; see also 63:21-63:25). Plaintiff

Noel described gentrification as meaning “here comes people with a lot more money taking away

from other people that didn’t have as much,” and further testified that she did not think it was

fair when people had to leave their homes due to gentrification. See Polifione Dec. at Ex. 42 (at

65:17-18; 91:16-19). She also answered affirmatively when asked whether she thought the CP

policy helped people remain in their communities. See Id. (at 91:20-22).

        Given these undisputed and indisputable facts, Plaintiffs’ attack on the City’s interests

addressed by the CP policy is fundamentally an attack on whether the CP policy achieves the

goals it aims to achieve and whether there is sufficient “evidence” in support of those results.

Plaintiffs’ attack is based on the misplaced assumption that the City must have highly specific

data to support each policy it has. More specifically, Plaintiffs also assume that the City must


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   Although the City has moved to exclude Professor Orfield’s proposed testimony in this case, his admissions
regarding displacement in New York City are still valid. The City is seeking to exclude his proposed testimony as
set forth in his expert report because it lacks relevance and support. However, the study of displacement that he
oversaw, and the admissions about displacement, were not discussed in his expert report.




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         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 63 of 75




have data demonstrating the need for the CP policy on a citywide level and an individual level

(i.e. data on displacement in New York City overall and data demonstrating that individual CP

beneficiaries are at risk of displacement). Finally, Plaintiffs assume that the City must have data

on the effects of such policy (again, citywide and individual), as well as the effects of the policy

as compared to other policies that address similar goals, such as the City’s other anti-

displacement tools that together make up a comprehensive anti-displacement strategy.

         Underlying Plaintiffs’ attack is the argument that unless the CP policy addresses all types

of displacement, and all people at risk of displacement at once, it is invalid. Not only are these

expectations inconsistent with how government often must work, see Goetz Dec. ¶ 73, Plaintiffs

fail to cite to, nor is there any, case law that supports such a heavy burden be imposed on the

City.

         Plaintiffs make a convoluted argument regarding the possible multiple standards it

believes are applicable to assess whether the City has met its burden. Rather than acknowledge

the standards articulated by the Supreme Court and Second Circuit in Inclusive Communities and

MHANY, respectively, Plaintiffs predominantly rely on Huntington, a pre-Inclusive Communities

decision, and the HUD disparate impact rule. Plaintiffs’ intent appears to be to emphasize the

amount and type of evidence a defendant must produce in support of its interests to bolster their

argument for a heightened evidentiary standard.66 Plaintiffs’ arguments fail.




66
   To add to this confusion, Plaintiffs argue that the standard for their “perpetuation of segregation” claim under the
City HRL, assuming the Court were to read such claim into the City HRL, should follow the HUD rule, and not the
standard set forth in the City HRL for disparate impact claims (“bears a significant relationship to a significant
business interest.” NYC Admin. Code § 8-107(17)(a)(2).). Plaintiffs cite to no case law, nor is the City of aware of
any case law that would support such a proposition. Even if the Court were to read a perpetuation of segregation
claim into the City HRL as Plaintiffs argue it should, it would be a component of the City HRL disparate impact
claim, as it is under the federal law, and thus the standards set forth in the City HRL for disparate impact should be
applicable.



                                                          56
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 64 of 75




         First, Huntington’s “in theory and in practice” language does not support the data-driven

evidence Plaintiffs assert is required. The Huntington Court held that “a concern may be non-

frivolous, but may not be sufficient because it is not reflected in the record.” Huntington, 844

F.2d at 939. However, the Court did not address the nature of the evidence in the record, let

alone require data-driven evidence substantiating each component of the interests expressed.

         The HUD rule, which provides that the interest “may not be hypothetical or speculative,”

also does not require the data Plaintiffs assert is necessary. Moreover, HUD has indicated that it

believes that its disparate impact rule is inconsistent with the Supreme Court’s decision in

Inclusive Communities, and thus proposed significant amendments to the rule.67 See 84 FR

42854. Of key relevance, the proposed amended language requires a defendant to “produc[e]

evidence showing that the challenged policy or practice advances a valid interest (or interests)...”

and does not address the nature of the evidence. 84 FR 42854 at 42862-63 (proposed amended

24 CFR § 100.500 d(1)(ii)).68

         The few other cases Plaintiffs cite to also do not stand for imposing such a burden on the

City and are distinguishable. For instance, Dothard v. Rawlison does not address the nature of

the evidence supporting the height and weight requirement that was challenged, but held that the

67
   However, even if the HUD rule were still applicable, there is nothing “hypothetical or speculative” about the
interests the CP policy serves.
68
   The proposed rule further clarifies that “Nothing in this part requires or encourages the collection of data with
respect to race, color, religion, sex, handicap, familial status, or national origin. The absence of any such collection
efforts shall not result in any adverse inference against a party.” 84 FR 42854 at 42862-63 (proposed 24 CFR §
100.5(d)). The proposed rule also modifies the burden shifting, and clarifies that to demonstrate a prima facie case
plaintiffs must demonstrate “[t]hat the challenged policy or practice is arbitrary, artificial, and unnecessary to
achieve a valid interest or legitimate objective such as a practical business, profit, policy consideration, or
requirement of law; robust causation; the alleged disparity harms a protected class; the alleged disparity is
significant; and there is a link between the policy challenged and the plaintiffs’ alleged injury. See 84 FR 42854 at
42862-63 (proposed 24 CFR§ 100.500(b)).




                                                          57
        Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 65 of 75




defendant “failed to offer evidence of any kind...” Dothard, 433U.S, 321, 331 (1977). Guardians

Ass’n of NYC Police Dep’t v. Civil Serv. Comm’n and United States v. City of New York are

distinguishable, as they address a specific analysis for assessing the validity of employment

exams. The unique fact pattern of an employment examination is not present here nor is there a

similar or analogous fact pattern here, and thus the validation standard established in Guardians

and relied upon in New York City is not applicable here. While the Supreme Court in Inclusive

Communities held that the interest must be “valid,” it did not require that a specific validation be

undertaken, as is the case with employment exams. Fair Housing Center of Washington v.

Breier-Scheetz Properties, the only fair housing case relied upon by Plaintiffs other than

Huntington, likewise does not support Plaintiffs’ arguments. In Fair Housing Center of

Washington, a Western District of Washington case, affirmed by the 9th Circuit, the district court

did not find that a valid interest was unsupported by the data-based evidence but instead found

one of the interests asserted to be post hoc and the other to be a worthy goal easily and more

effectively addressed through means other than the challenged practice.

       Here, it is undisputed that displacement and the fear of displacement is a significant

public policy concern that requires a response. City 56.1 ¶¶ 75-76. Unlike in the cases relied

upon by Plaintiffs, the City has produced ample evidence, including declarations of Deputy

Mayor Been (who is also a former HPD Commissioner) and Edward G. Goetz, Ph.D— a

professor and expert in affordable housing, fair housing, displacement, and the housing issues

facing low-income communities and Black and Brown communities—public records, transcripts

from public hearings, documents, deposition transcripts, and news articles demonstrating the

necessary and significant role the CP policy plays in addressing displacement and the fear of




                                                 58
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 66 of 75




displacement. 69 See City 56.1 generally. That the City does not have a specific study measuring

the efficacy of the CP policy, let alone the efficacy in comparison to or in light of other anti-

displacement policies, does not make the interests the policy serves invalid or speculative.70 See

Goetz at ¶ 27. Certainly, if traffic patterns and historic preservation are legitimate government

interests sufficient to defend against a finding of disparate impact or perpetuation of segregation,

as the Supreme Court in Inclusive Communities opined, efforts to prevent displacement and

overcome opposition to affordable housing resulting from the fear of displacement are legitimate

interests. See Inclusive Communities, 135 S. Ct. at 2523. And, the City has established through

ample evidence that the CP policy is necessary to achieve those valid interests.71

C.       Plaintiffs Mischaracterize the City’s Legitimate Interests

         In addition to applying the incorrect legal standard, Plaintiffs’ arguments fail for many

other reasons. First, Plaintiffs take the City’s interests out of context and treat each dissected part

as an independent “justification.”72 As a result, many of their arguments are strained, because the

City’s legitimate government interests as presented work in concert. For example, Plaintiffs’
69
  Plaintiffs’ reliance upon a single email exchange regarding documenting the metrics of displacement to imply that
the City has had no factual basis from which to determine that displacement is serious public policy concern
warranting a response fails. Plaintiffs have chosen to ignore the many documents that the City produced that
included a variety of data points that paint the picture of displacement and displacement risk. See Polifione Dec. Ex
40. Moreover, Matthew Murphy does not speak on behalf of the City and the document is not admissible.
70
   Moreover, as more fully explained in the Been and Goetz declarations, the CP policy focuses on displacement
differently than those other policies (in particular it focuses on the preventing displacement at the neighborhood
level) and thus a comparison with other anti-displacement tools is meaningless. See Been Dec. at ¶¶ 71-80 and
Goetz Dec. at ¶¶ 60, 65. Further, as discussed in the Goetz declaration, displacement is extremely difficult to
measure due to a variety of factors. See Goetz Dec. at ¶ 24.
71
  Even if the Court were to agree that Huntington and the HUD rule provided a heightened evidentiary standard and
should be applied, the City’s evidence meets these standards. Likewise, the City’s evidence also demonstrates that
the CP policy has “significant relationship to a significant interest.” NYC Admin Code § 8-107(17)(a)(2).
72
  Plaintiffs seek summary judgment on each of their “justifications” independently, claiming that doing so would
reduce the scope of trial. However, the City need only meet its burden with regard to a single interest, and thus, if
the Court holds that the City has met its burden regarding one interest, and Plaintiffs are unable to meet prong three,
no trial is needed.




                                                          59
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 67 of 75




“justification 1” (giving local residents a better chance to participate in the renaissance of their

neighborhoods) while part of the original purposes of the CP policy, remains one of the reasons

why preventing displacement (Plaintiffs’ “justification 2”) is so important. As Deputy Mayor

Been explained: “[T]he CP policy has a distinct and important historical rationale, that has only

become more acute as the City and our residents grapple with fear of displacement and the

relationship between displacement and gentrification, the inequitable opportunities people in

low-income and Black or Brown neighborhoods have to build wealth, and the need for

investment to address disparities in neighborhood services and amenities.” Been Dec. ¶ 44.

        Additionally, addressing the fear of displacement (Plaintiffs’ “justification 3”) is directly

related to overcoming opposition to affordable housing and gaining City Council Members’

(“CM”) support (Plaintiffs’ “justification 4”).73 See Been Dec. ¶ 52. A passionate and frequent

basis for opposition to development by communities and CMs is the fear that the development,

or gentrification triggered by the development, will displace low-income community members.

See id. ¶¶ 46, 50, 56; City 56.1 ¶¶ 83-85. Many affordable housing projects and all zoning

changes that facilitate affordable housing development are subject to ULURP, a comprehensive

public review process in which several public hearings are held, culminating in a vote by the

City Council. The fear of displacement expressed is one of the strongest reason for opposition to

these projects, which the community preference policy helps mitigate. See id. ¶ 57; City 56.1 ¶¶

107-110. Thus, the City is not arguing that the policy is “necessary to convince one part of [the

73
  Failing to recognize the relationship between the fear of displacement and garnering Council Member approval of
land use actions and housing projects has lead to Plaintiffs making nonsensical arguments. For instance, Plaintiffs
argue that it is unrealistic for someone that fears displacement to have that fear reduced because “at some
indeterminate point in the future, there may or may not be a lottery for an affordable housing development in his or
her community...” Pls. MOL at 56 (ECF 882 at 63). Further, the idea that the CP policy increases the fear of
displacement for non-CP beneficiaries is not only unsupported, and likewise makes no sense, as it is the fear of
displacement from a particular project seeking approval that the City is seeking to address.




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         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 68 of 75




City]” Pl. MOL at 58 (ECF 882 and 65). The CP policy is necessary to address a serious and

legitimate concern of elected officials (and their constituents), who are ultimately responsible for

approving many actions needed to facilitate affordable housing development. See City 56.1 ¶

107; Been ¶ 59. While Plaintiffs argue that the executive branch ought to simply try to persuade

the CMs that the CP policy is not needed, or offer them other “incentives” in lieu of the CP

policy and in exchange for their approval of a project delegitimizes and belittles the depth of the

fears of displacement held by communities.74 There is nothing improper about the executive

branch being responsive to the legislative branch’s legitimate concerns, in particular when the

executive branch shares such concerns.

D.      Plaintiffs’ Use of Housing Connect Data to Attack the Legitimacy of the CP policy
        Fails

        Plaintiffs’ use of data from the City’s online application database, Housing Connect, to

attack the nexus between the CP policy and its legitimate interests also fails. Plaintiffs rely upon

two analyses of Housing Connect—one that purports to demonstrate that applicants do not want

to live in their neighborhoods and that the CP policy is “working against the vast majority of

applicants the vast majority of the time,” Pls. MOL at 51 (ECF 882 at 58) and the other which

purports to demonstrate that more non-CP applicants are rent burdened than CP beneficiary

applicants and that “a far greater number of applicants are hurt by the policy....” Pls. MOL at 53

(ECF 882 and 60).



74
  It also implies that Council Members can be bought by incentives. The City does not offer “incentives” but makes
investments in the community where and when appropriate. Their fundamental purpose is a recognition that the City
needs to invest in communities beyond housing, and that increasing density will impact other aspects of a
community which the city must be prepared to address (such as open space and schools) as well. While these
investments may help garner support for project approval, they will not address fears of displacement, as they are
neighborhood-based investments which displaced people will not benefit from. See Been Dec. ¶ 94.




                                                        61
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 69 of 75




        While Dr. Beveridge’s participation analysis shows that many applicants apply for

housing outside of their CD, Dr. Beveridge’s study demonstrates nothing more than the fact that

people are actively applying for affordable housing wherever it may be available; the study says

nothing about where people would prefer to obtain housing.75 See Siskin Dec. ¶ 156-157. In fact,

Dr. Beveridge conceded as much at his deposition, testifying: “I would say that [my participation

study] probably shows neither that they want to leave nor that they necessarily want to stay, but

it’s you know – we don’t know what it shows.” Polifione Dec. at Ex. 45 (at 112:24-113:1). On

the other hand, Dr. Siskin demonstrated that the closer an applicant lives to a project the more

likely the applicant is to apply. See Siskin Dec. at Table 9.

        Dr. Beveridge’s rent burden analysis is also flawed. First, the City has not conceded that

rent burden is a proxy for displacement risk. The City has recognized that rent burden is one of

many factors that may predict displacement. See Been Dec. ¶ 69; Goetz Dec. ¶ 62. Thus, a study

of rent burden alone is insufficient to determine displacement risk.

        However, even if one were to accept, arguendo, the validity of the premise of Dr.

Beveridge’s study, the fact that there are more non-CP beneficiaries than CP beneficiaries that

are rent burdened does not undermine the validity of the CP policy. There will always be more

non-CP beneficiaries, as there is typically only 1 CD obtaining the preference, thereby leaving

applicants from 58 other CDs without a preference for that project. Further, the City applies the

CP policy wherever the applicable housing is built, and thus, while an applicant may be a non-

CP beneficiary for many applications, she may also be a CP beneficiary for others. The CP



75
  As Dr. Goetz explained, a policy need not address the needs and desires of every person all at once. Even if Dr.
Beveridge’s study were accurate, it still demonstrates a significant number of applicants who only want to remain in
their CD. The CP policy is directed at these people. See Goetz Dec. ¶ 65.




                                                         62
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 70 of 75




beneficiary group is not a static group, but changes with every project based on the location of

the project. See Siskin Dec. ¶ 30; Goetz Dec. ¶ 64.

         Ultimately, Dr. Beveridge’s studies demonstrate that there are many low-income New

Yorkers at risk of displacement (by Dr. Beveridge’s definition) and they are applying for

affordable housing wherever it may be located. Those findings do not support, as Plaintiffs

argue, removing one of the City’s anti-displacement tools simply because it cannot resolve the

entirety of the problem. If anything, those findings suggest that the CP policy and other anti-

displacement policies must be maintained. Simply because the CP policy cannot help every

person at risk of displacement at the same time does not make it an invalid policy.76 See Goetz

Dec. ¶ 73. The CP policy is a part of the City’s multi-pronged anti-displacement strategy. It is by

no means the only anti-displacement tool that the City has implemented. See City 56.1 ¶¶ 87-95.

Moreover, to the extent the CP policy helps get more affordable housing approved, it makes

more affordable housing available for non-CP-beneficiaries too, as the CP policy applies to only

50% of the affordable units. See Been Dec. ¶¶ 60, 64 and Goetz Dec. ¶ 59; City 56.1 ¶ 117.

         There is no doubt that the CP policy is necessary to serve the City’s substantial, valid

interests to address displacement and fear of displacement. Just as “[i]t would be paradoxical to

construe the FHA to impose onerous costs on actors who encourage revitalizing dilapidated

housing in our Nation’s cities merely because some other priority might seem preferable[,]” it

would be paradoxical to construe the FHA to impose liability on the City for trying to help

prevent the displacement of low-income people from their communities, mitigate the fear of

76
  Furthermore, it is important to note the contradictory nature of Plaintiffs’ arguments. On the one hand, Plaintiffs
argue that the CP policy is not sufficiently tailored to people who are actually at risk of displacement, and that the
City lacks evidence that the applicants benefiting from the CP policy are at risk of displacement. On the other hand,
Plaintiffs rely upon a study demonstrating that large numbers of the housing applicants are at risk of displacement
by Dr. Beveridge’s measurement of rent burden.




                                                         63
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 71 of 75




displacement and reduce the impediment that fear imposes on the city’s efforts to provide

additional affordable housing develop because Plaintiffs’ “prefer” for the City to pursue the most

integration possible. Inclusive Communities, 135 S. Ct. at 2523. “The FHA is not an instrument to

force housing authorities to reorder their priorities.” Inclusive Communities, 135 S. Ct. at 2522.

Therefore, Plaintiffs’ request for summary judgment in their favor must be denied and the City’s

cross-motion should be granted.

                                                    POINT V

                           THERE ARE NO LESS DISCRIMINATORY
                           ALTERNATIVES

         Having established that the CP policy serves the City’s legitimate government interests,

that the burden shifts to Plaintiffs to show “that there is ‘an available alternative . . . practice that

has less disparate impact and serves the [entity’s] legitimate needs.’” Inclusive Communities, 135

S. Ct. at 2518 (quoting Ricci v. DeStefano, 557 U.S. 557, 578 (2009)). Accord MHANY, 819 F.3d

at 617-18. Alternatives must be reasonable and “comparable.” Bryan v. Koch, 627 F.2d 612, 619

(2d Cir. 1980).77 The Court should not endeavor on an “open-ended” inquiry into alternatives, so

as to avoid “substituting its own judgment for that of the city's elected officials and appointed

specialists…concerning alternative ways to carry out municipal functions.” Id.

         Plaintiffs’ purported alternatives fail both the “serves the entity’s legitimate needs”

requirement and the “less disparate impact” requirement. The vast majority of the alternatives




77
   The NYC HRL has a slightly different standard. Plaintiffs must demonstrate that they have a less discriminatory
alternative, and if they do so, then the defendant may still succeed if they show that the less discriminatory
alternative will not serve their interests as well. See NYC Admin Code § 8-107(17)(a)(2). As the City has explained
why Plaintiffs’ purported less discriminatory alternatives do not meet its interests, the City has met its burden under
the NYC HRL.




                                                          64
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 72 of 75




proposed by Plaintiffs78 are based on the assumption that the goal of the CP policy is “to

maintain the racial status quo,” See ECF 894-1 at ¶ 81, or the argument that the City’s interests in

preventing displacement and responding to the fear of displacement are not valid. Consequently,

Plaintiffs’ proposals are unresponsive to the City’s interests. For instance, Professor Orfield

suggests a communications campaign promoting the view that affordability is a citywide

problem; specifically, that the city’s affordable housing “belongs equally to all similarly

economically-situated residents,” and promoting the understanding of the harms of residential

segregation. Id. at ¶¶ 85 and 86. These proposed messages have nothing to do with displacement

or the fear of displacement. Moreover, the City already has extensive communication with the

public around affordable housing and the fear of displacement. Deputy Mayor Been explained,

“[s]imply telling a person that they should not be afraid of being displaced not only disregards

their rational fears (and may in fact exacerbate those fears), but will do nothing to change the

circumstances which give rise to their fear in the first place.” Been Dec. ¶ 88. Further, the city’s

residents want and deserve policies to be put in place to support the messaging. Messaging is

never a replacement for policy, but is a supplement. See Id.

        Nor would somehow ending the “councilmanic veto” serve as an alternative to addressing

the opposition triggered by the fear of displacement. That Council Members often defer to the

Council Member whose district houses the proposed land use action is not unreasonable, as it is

that Council Member who understands best the issues in that district. In a democracy, we cannot

direct how Council Members vote. See Been Dec. ¶ 94 fn 75


78
   Plaintiffs appear to be relying upon their purported expert Professor Orfield to propose alternatives, as he
dedicated a section of his expert disclosure to this topic. While the City has responded to his proposed alternatives
herein, the City has also moved, in an accompanying motion, to deem Professor Orfield’s proposed testimony
inadmissible.




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         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 73 of 75




        When Professor Orfield does recognize the City’s interests surrounding displacement, he

recommends that the City explain to community members that the “community preference does

nothing to ensure that a resident will not be displaced.” ECF 894-1 ¶ 97. Such a proposal

delegitimizes what has been established as a legitimate government interest, and is not an

alternative that addresses such interest. Professor Orfield’s suggestions of a reduction of the CP

policy to 20%79 or an expansion of the preference areas would simply dilute the preference for

those seeking to remain in their neighborhood in exchange for Plaintiffs’ priorities (seeking to

have the most integrative policy possible regardless of its impact on other legitimate priorities).

Given the severe housing crisis and the significance of displacement as a public policy concern,

reducing the effectiveness of the policy that addresses these significant and important issues is

not a valid or reasonable alternative to the current policy. See Been Dec. ¶ 93.

        Finally, and significantly, Plaintiffs failed to undertake any analysis to demonstrate that

any of their “alternatives,” including a reduction of the CP policy to 20% or an expansion of the

policy to multiple CDs, would reduce the impact of the current policy. Without any analysis, one

cannot properly conclude that these “alternatives” are “less discriminatory.” Even if one were to

accept Plaintiffs’ assumption that this is true, without measuring the extent by which the reduced

percentage or addition of CDs to the preference area would reduce the disparate impact, it is

impossible to properly evaluate how much less discriminatory these alternatives would be, if at

all. In the same way that the law requires that the amount of disparate impact or perpetuation of




79
  Plaintiffs’ reliance upon City Council Speaker Johnson’s statement about being open to the possibility of reducing
the CP policy percentage is inapposite. Despite his title, Speaker Johnson is a single vote in the Council. Moreover,
these comments were made over two years ago and since then Speaker Johnson has taken no public steps, such as
proposing legislation, to follow up on his prior statements. See Been ¶ 93 fn 74.




                                                         66
        Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 74 of 75




segregation be legally significant, see Davis 166 F.3d at 438, arguably, a de minimis reduction in

the impact should not be a basis to find that the Plaintiffs have met their burden.

       In sum, Plaintiffs will be unable to meet their burden to demonstrate that there is a less

discriminatory alternative to the CP policy that meets the City’s legitimate needs. A finding

otherwise would disregard the Second Circuit’s important warning against exploring broad

alternatives that would result in the courts making “policy choices…without broad public

participation and without sufficient assurance that the alternative selected will ultimately provide

more of a benefit to the minority population.” Bryan 627 F.2d at 619 (rejecting alternatives

proposed by the plaintiffs). Therefore, the City is entitled to summary judgment dismissing the

disparate impact and perpetuation claims.




                                                 67
         Case 1:15-cv-05236-LTS Document 902 Filed 08/14/20 Page 75 of 75




                                       CONCLUSION

              In light of the foregoing, Plaintiffs’ motion for partial summary judgement should

be denied and Defendant’s cross-motion for summary judgment should be granted.

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                                              68
